     Case 4:19-cv-04782
       Case 4:19-cv-04782Document 3-11 Filed
                           Document    Filed on
                                             on 12/10/19
                                                12/09/19 in
                                                          in TXSD
                                                             TXSD Page
                                                                  Page 11 of
                                                                          of 104
                                                                             7



                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION


B&B SOLUTIONS LLC                                 §
     Plaintiff,                                   §
                                                  §
v.                                                §             Case No.
                                                  §
NAMRA LLC                                         §
    Defendant.                                    §



                    PLAINTIFF’S COMPLAINT FOR
     DECLARATORY JUDGMENT OF NON-INFRINGEMENT AND INVALIDITY

        Plaintiff B&B Solutions LLC (“Plaintiff”) files this Complaint for Declaratory Judgment

of Non-Infringement and Invalidity against defendant Namra LLC’s (“Defendant”). Plaintiff

states and alleges as follows:

                                   NATURE OF THE ACTION

        1.       This is an action for declaratory judgment that U.S. Patent Nos. 10,271,617 (“the

‘617 patent”) and 10,342,298 (“the ‘298 Patent”) (collectively, “the Patents-in-Suit”) are invalid

and not infringed by Plaintiff. This action is brought pursuant to the Declaratory Judgment Act,

28 U.S.C. §§ 2201 and 2202, and the Patent Laws of the United States, 35 U.S.C. § 100 et seq.,

and for such other relief as the Court deems just and proper.

                                          THE PARTIES

        2.       Plaintiff B&B Solutions LLC is a Texas limited liability company with its principal

place of business located at 3012 Rice Blvd., Houston, Texas 77005, which is located in this

judicial district.

        3.       On information and belief, Defendant Namra LLC is a California limited liability
    Case 4:19-cv-04782
      Case 4:19-cv-04782Document 3-11 Filed
                          Document    Filed on
                                            on 12/10/19
                                               12/09/19 in
                                                         in TXSD
                                                            TXSD Page
                                                                 Page 22 of
                                                                         of 104
                                                                            7



company with its principal place of business at 42156 10 th St., West Unit M, Lancaster, CA 93534.

                                  JURISDICTION AND VENUE

        4.      This is a civil action seeking declaration of invalidity and non-infringement of the

Patents-in-Suit and, therefore, arises under United States Patent Laws 35 U.S.C. § 271 et seq. and

further under the Declaratory Judgment Act 28 U.S.C. §§ 2201-2202.

        5.      This Court has original jurisdiction over the subject matter of these claims pursuant

to 28 U.S.C. §§ 1331 and 1338(a).

        6.      This Court has personal jurisdiction over Defendant because Defendant has

sufficient business or contacts within the State of Texas to justify jurisdiction under the United

States Constitution and the Texas Long Arm Statute. On information and belief, Defendant has

had substantial contacts with the State of Texas in connection with the sale and/or offering for sale

of products asserted by Defendant to be covered by one or more claims of the Patents-in-Suit. In

particular, on information and belief, Defendant regularly ships products to customers located

within this District, Defendant has contracts with retailers in this District, and Defendant’s

products are sold in retail stores located within this District.

        7.      This Court also has personal jurisdiction over Defendant because Defendant

purposefully directed its activities at residents of this District, including taking steps to enforce the

Patents-in-Suit against Plaintiff, a Texas resident, and Plaintiff’s request for declaratory relief

contained in this Complaint arises out of and relates to those activities. As set forth herein,

Defendant’s purposeful contacts with this District are sufficient such that the maintenance of this

suit does not offend traditional notions of fair play and substantial justice. Furthermore, this

District has a substantial interest in protecting its residents from claims of patent infringement that

may be unwarranted. Those contacts include alleging that products sold or licensed to customers
    Case 4:19-cv-04782
      Case 4:19-cv-04782Document 3-11 Filed
                          Document    Filed on
                                            on 12/10/19
                                               12/09/19 in
                                                         in TXSD
                                                            TXSD Page
                                                                 Page 33 of
                                                                         of 104
                                                                            7



by Plaintiff (the “Accused Products”) infringe the Patents-in-Suit, sending emails and letters to

Plaintiff and Plaintiff’s counsel threatening to file a patent infringement action in district court

against Plaintiff, and filing an Amazon Utility Patent Neutral Evaluation (“Amazon Evaluation”)

proceeding to have Plaintiff’s Accused Products removed from the Amazon marketplace. Those

allegations, letters, emails, and Amazon Proceeding created sufficient contacts with Texas and

form the basis for the present action. By sending enforcement letters into this District, Defendant

threatened patent infringement against Plaintiff in this District. Sales and use of the Accused

Products occurred within this District and therefore the alleged infringement occurred within this

District.    By filing the Amazon Evaluation, Defendant engaged in extra-judicial patent

enforcement, enlisting a third party (Amazon) to remove Plaintiff’s products from the Amazon

marketplace. Defendant’s conduct was directed toward Plaintiff in Texas and Defendant’s intent

was to negatively impact Plaintiff’s sales. The brunt of the harm—measured in lost sales—will

be felt by Plaintiff in Texas. Therefore, the extrajudicial enforcement efforts undertaken by

Defendant are sufficient to establish specific personal jurisdiction. Because Defendant’s express

aim was to halt Texas-based sales by a Texas resident, jurisdiction over Defendant is proper. Filing

the Amazon Evaluation is an action that has had and will have adverse consequences for Plaintiff’s

business and future dealings with the Amazon marketplace. Defendant knew Plaintiff was

headquartered in Texas, purposefully directed its conduct at the forum state, and intended to effect

Plaintiff in Texas. Defendant’s intentional conduct was calculated to cause injury in Texas.

        8.      Venue is proper in this district pursuant to 28 U.S.C. §§ 1391(b), (c), (d) and

1400(b). Plaintiff is a Texas limited liability company which maintains its principal place of

business in Houston, Texas. As stated above, a substantial part of the events giving rise to

Plaintiff’s claim occurred in this judicial district. Litigating in the Southern District of Texas is
     Case 4:19-cv-04782
       Case 4:19-cv-04782Document 3-11 Filed
                           Document    Filed on
                                             on 12/10/19
                                                12/09/19 in
                                                          in TXSD
                                                             TXSD Page
                                                                  Page 44 of
                                                                          of 104
                                                                             7



not unduly burdensome to Defendant and this District has a substantial interest in the matter,

because Defendant threatened litigation and instituted extra-judicial enforcement against Plaintiff

residing in, and conducting business in, this District.

                                    STATEMENT OF FACTS

        9.     There exists a real and immediate controversy between Plaintiff and Defendant

concerning Defendant’s allegations that Plaintiff infringes one or more claims of the Patents-in-

Suit.

        10.    Specifically, on September 20, 2019, Defendant’s counsel sent a letter to Plaintiff

in Texas stating that Plaintiff was infringing certain claims of the Patents-in-Suit and demanding

that Plaintiff immediately cease and desist its allegedly infringing activity. A copy of that letter is

attached hereto as Exhibit A.

        11.    On November 27, 2019, Defendant filed the Amazon Evaluation asking Amazon

to remove Plaintiff’s Accused Products from the Amazon marketplace, stating that Defendant “is

likely to prove [Plaintiff’s] Accused Products infringe Claim 1 of the ‘298 Patent.” A copy of the

Amazon Evaluation is attached hereto as Exhibit B.

        12.    The exhibits Defendant attached to the Amazon Evaluation include claim charts

detailing the alleged infringement and screen shots from Plaintiff’s Amazon retail webpages,

including one that states “UnbuckleMe was invented by a mom and daughter team from Texas.”

(emphasis added). A copy of the exhibits to the Amazon Evaluation is attached hereto as Exhibit

C.

        13.    On December 6, 2019, Defendant’s counsel sent an email to Plaintiff (via Plaintiff’s

counsel) threatening to file a patent infringement lawsuit in district court.

        14.    Plaintiff denies that it infringes any valid claim of the Patents-in-Suit. Therefore, a
    Case 4:19-cv-04782
      Case 4:19-cv-04782Document 3-11 Filed
                          Document    Filed on
                                            on 12/10/19
                                               12/09/19 in
                                                         in TXSD
                                                            TXSD Page
                                                                 Page 55 of
                                                                         of 104
                                                                            7



genuine and legal dispute exists between the Plaintiff and Defendant hereby conferring jurisdiction

upon this Court pursuant to the Declaratory Judgment Act, 28 U.S.C. §§ 2201 and 2202.

                               COUNT I
       (DECLARATION OF NON-INFRINGEMENT OF THE PATENTS-IN-SUIT)

        15.     Plaintiff hereby incorporates by reference the previous allegations as if set forth

fully herein.

        16.     Plaintiff has not and does not make, use, offer to sell or sell any product which

infringes any valid claim of the Patents-in-Suit either directly or through the Doctrine of

Equivalents.

        17.     Plaintiff has not and does not induce or contribute to the alleged infringement of

the Patents-in-Suit.

        18.     As set forth above, Defendant contends that the Accused Products infringe either

directly or under the Doctrine of Equivalents one or more claims of the Patents-in-Suit.

        19.     An actual and live justiciable controversy exists between Defendant and Plaintiff

concerning non-infringement of the Patents-in-Suit. A declaration of rights is both necessary and

appropriate to establish that Plaintiff is not committing patent infringement by offering for sale

and selling the Accused Products allegedly covered by the Patents-in-Suit. This action seeks a

declaration that the Patents-in-Suit are not infringed.

        20.     Plaintiff is being injured by Defendant’s threats of patent infringement and extra-

judicial enforcement actions, including asserting Plaintiff’s Accused Products infringe the ‘298

Patent in the Amazon Evaluation.

        21.     Therefore, Plaintiff is entitled to an Order from this Court declaring that the

Accused Products do not infringe any valid claim of the Patents-in-Suit and for all other relief to

which it is entitled.
    Case 4:19-cv-04782
      Case 4:19-cv-04782Document 3-11 Filed
                          Document    Filed on
                                            on 12/10/19
                                               12/09/19 in
                                                         in TXSD
                                                            TXSD Page
                                                                 Page 66 of
                                                                         of 104
                                                                            7



        22.      The requested relief can redress the injury being suffered by Plaintiff.              A

declaratory judgment of patent non-infringement regarding the Patents-in-Suit and an injunction

preventing Plaintiff from enforcing the Patents-in-Suit will permit Plaintiff to offer for sale and

sell the Accused Products, including on the Amazon marketplace, without the threat or potential

consequences of patent infringement litigation.

                                    COUNT II
                (DECLARATION OF INVALIDITY OF THE PATENTS-IN-SUIT)

        23.      Plaintiff hereby incorporates by reference the previous allegations as if set forth

fully herein.

        24.      The Patents-in-Suit are invalid.

        25.      As set forth above, Defendant contends that the Accused Products infringe either

directly or under the Doctrine of Equivalents one or more claims of the Patents-in-Suit.

        26.      An actual and live justiciable controversy exists between Defendant and Plaintiff

concerning invalidity of the Patents-in-Suit. This action seeks a declaration that the Patents-in-

Suit are invalid under 35 USC § 102 and 103.

        27.      Therefore, Plaintiff is entitled to an Order from this Court declaring that the Patents-

in-Suit are invalid and for all other relief to which it is entitled.

                                           JURY DEMAND

        Pursuant to the Federal Rules of Civil Procedure 38, Plaintiff demands a trial by jury on all

issues so triable.

                                       PRAYER FOR RELIEF

        Wherefore the above stated reasons Plaintiff prays for a declaratory judgment against

Defendant as follows:

        a.       Declare that the Accused Products have not and do not infringe any claim of the
    Case 4:19-cv-04782
      Case 4:19-cv-04782Document 3-11 Filed
                          Document    Filed on
                                            on 12/10/19
                                               12/09/19 in
                                                         in TXSD
                                                            TXSD Page
                                                                 Page 77 of
                                                                         of 104
                                                                            7



Patents-in-Suit;

       b.      Declare that the Patents-in-Suit are invalid;

       c.      Permanently enjoining Plaintiff from enforcing or attempting to enforce the

Patents-in-Suit against Plaintiff or filing an Amazon Evaluation;

       d.      An award of costs of suit to Plaintiff; and

       e.      Award Plaintiff any additional relief as the Court may deem just and proper under

the circumstances.




Dated: December 9, 2019

                                               Respectfully submitted.

                                               BELL NUNNALLY & MARTIN LLP

                                               By:        /s/ Jeffrey A. Tinker

                                                          Jeffrey A. Tinker
                                                          State Bar No. 24060733
                                                          USPTO Reg. No. 58,807
                                                          jtinker@bellnunally.com
                                                          Saba F. Syed
                                                          State Bar No. 24088497
                                                          ssyed@bellnunally.com
                                                          2323 Ross Avenue, Suite 1900
                                                          Dallas, Texas 75201
                                                          214-740-1411 Telephone
                                                          214-740-1499 Facsimile

                                               ATTORNEYS FOR SELLER
    Case
    Case4:19-cv-04782
         4:19-cv-04782 Document
                       Document3-1
                                1-1 Filed
                                    Filedon
                                          on12/10/19
                                             12/09/19ininTXSD
                                                         TXSD Page
                                                              Page81of
                                                                     of104
                                                                        41

                                                                              KW Law, LLP
                                               A                          intellectual property law
                                                                            Jeremy Kapteyn, PhD
                                                                                    520.977.3241
                                                                               jeremy@kwlaw.co




                                       September 20, 2019

Sent Via Email and UPS

B&B Solutions, LLC dba “UnbuckleMe”
Attn:
Rebecca Davison
3012 Rice Blvd
Houston, TX 77005
becca@unbuckleme.com
Barbara Heilman
6004 Lake Street
Houston, TX 77005
barb@unbuckleme.com
info@unbuckleme.com

       Re:    Notice of Patent Infringement

Ms. Davison and Ms. Heilman:

        My firm represents Namra LLC (“Namra”). As you know, Namra is engaged in the
development, manufacture, marketing, sales and distribution of innovative consumer products,
including its “The Car Seat Key” buckle release device. Namra is the owner of US Patent No.
10,271,617 (“the ‘617 Patent”) and US Patent No. 10,342,298 (“the ‘298 Patent”) directed to it’s
The Car Seat Key device, which are enclosed. UnbuckleMe is infringing certain claims of the
‘617 Patent and the ‘298 Patent with the sale of its UnBuckleMe product. Namra demands that
UnbuckleMe immediately cease its infringing activity, desist from such infringing activity in the
future, and comply with Namra’s other requirements set out in this letter.
        We are in possession of your company’s UnbuckleMe product and have compared it to the
claims of the ‘617 Patent and the ‘298 Patent. Those comparisons show that your manufacture,
use, and sale of the UnbuckleMe product infringes claims of the ‘617 Patent and the ‘298 Patent
in violation of Section 271 of the Patent Act.
       Moreover, your knowledge of Namra and its products, as evidenced by your
correspondence to them, copying of elements of their product design and their product colors, and
various other actions you have taken, plainly establish that your infringement was willful. As
such, UnbuckleMe is liable for willful patent infringement, subjecting it to potential financial
    Case
    Case4:19-cv-04782
         4:19-cv-04782 Document
                       Document3-1
                                1-1 Filed
                                    Filedon
                                          on12/10/19
                                             12/09/19ininTXSD
                                                         TXSD Page
                                                              Page92of
                                                                     of104
                                                                        41

                                                                                   KW Law, LLP
                                                                               intellectual property law
                                                                                 Jeremy Kapteyn, PhD
                                                                                         520.977.3241
                                                                                    jeremy@kwlaw.co




liability for enhanced damages of up to three times the damages found or assessed by a court as
well as attorney fees.
       Patent infringement is a serious matter. Namra therefore demands that UnbuckleMe:
       1. Immediately cease and desist from all further activity that infringes the claims of the
‘617 Patent and the ‘298 Patent, including all manufacture and sales of the UnbuckleMe product;
       2. Provide Namra with sufficient information to determine the number of all UnbuckleMe
products sold since April 30, 2019 and all proceeds therefrom and pay Namra appropriate
compensation for Namra’s damages due to UnbuckleMe’s infringement; and
       3. Promptly provide Namra with written confirmation that UnbuckleMe will comply with
these demands.
      UnbuckleMe is specifically advised that any failure or delay in complying with these
demands may further compound the damages for which UnbuckleMe may be liable.
        If UnbuckleMe does not provide Namra with a satisfactory response to these demands by
the close of business on October 4, 2019, Namra is prepared to take all steps necessary to protect
its valuable intellectual property rights, without further notice to UnbuckleMe.
       The above is not an exhaustive statement of all the relevant facts and law. Namra expressly
reserves all its legal and equitable rights and remedies, including the right to seek injunctive relief
and recover monetary damages.


                                               Very truly yours,
                                               KW Law, LLP




                                               Jeremy Kapteyn


Enclosures
   Case
    Case4:19-cv-04782
         4:19-cv-04782 Document
                        Document3-1
                                 1-1 Filed
                                      Filedon
                                            on12/10/19
                                               12/09/19ininTXSD
                                                            TXSD Page
                                                                  Page10 of 41
                                                                       3 of 104

                                                                                                  US010271617B2

(12) United States Patent                                                   ( 10) Patent No.: US 10 ,271,617 B2
       Riley -Carter et al.                                                 (45) Date of Patent:                            Apr. 30 , 2019
(54 ) DEVICE AND SYSTEM FOR ASSISTING                                                                         24 /4494 ; Y10T 24 /44274 ; Y10T
      ACTUATION OF A BUCKLE RELEASE                                                                       24 /44641 ; Y10T 24 /4465; Y10T
                                                                                                  24/ 44923 ; Y10T 24 /44769; D06F 55 /00
(71) Applicant: Namra LLC , Quartz Hill, CA (US)                          See application file for complete search history.
(72 ) Inventors: Kristin Riley -Carter , Quartz Hill, CA            (56 )               References Cited
                 (US); Mauro Riley -Guglielmo, Quartz
                 Hill, CA (US)                                                               U .S . PATENT DOCUMENTS
(73 ) Assignee : Namra LLC , Lancaster, CA (US )                             RE32,338 E * 1/1987 Alexander ........... A61B 17 / 122
                                                                                                                              294 / 16
( * ) Notice : Subject to any disclaimer, the term of this                   4,938 ,214 A * 7/1990 Specht .............. A61B 17 /062
                 patent is extended or adjusted under 35                                                                         606 / 167
                                                                             5 ,282,737 A     2/ 1994 Ray
                 U .S .C . 154 (b ) by 0 days.                               5 ,625 , 931 A * 5 / 1997 Visser ............... A44B 99/00
                                                                                                                                   24 / 508
(21) Appl. No.: 15/799,911                                                   7 ,384 ,086 B2 6 / 2008 Lukaszynski et al.
                                                                             8 ,539, 862 B1             9 / 2013 Robinson
( 22 ) Filed :       Oct. 31, 2017                                                                       (Continued )
(65)                    Prior Publication Data                                                 OTHER PUBLICATIONS
      US 2018 /0116344 A1 May 3 , 2018                              Barbara Heilman arid Becca Davison , UnbuckleMeproduct, https://
                                                                    unbuckleme.com /.
             Related U .S . Application Data                                                             (Continued )
(60 ) Provisional application No. 62 /415 ,407, filed on Oct .      Primary Examiner - Robert Sandy
       31, 2016 .
                                                                    Assistant Examiner - Michael S Lee
(51) Int. Cl.                                                       (74 ) Attorney , Agent, or Firm — KW Law , LLP
        A44B 11 /25              ( 2006 .01 )
     B60N 2/ 28           ( 2006 . 01)                              (57 )                    ABSTRACT
     A44B 15/00           ( 2006 .01)                               A device and system that can be used to assist actuation of
(52) U . S . CI.                                                    a buckle release is disclosed . A device can include a first arm
     CPC ...... A44B 11/2573 ( 2013.01); A44B 11 /2523              and a second arm joined by a U - shaped connecting portion .
                   (2013.01); A44B 11/2526 ( 2013 .01 ); A44B       The device can also include a button contact feature . The
                 11/2546 ( 2013 .01); A44B 11 /2549 ( 2013 .01);    device can be inserted over a buckle with the button contact
                       A44B 11 / 2511 ( 2013 .01); A44B 15 /005     feature over a buckle release button , and the device used to
                    (2013 .01); BOON 2 /2812 (2013 .01); BOON       assist engagement of the buckle release button by a person
                                         2002 /2818 (2013 .01)      operating the device . A system can include a device and
( 58 ) Field of Classification Search                               various additional features or accessories.
       CPC ..... B25B 9 /02; A47G 21 / 106 ; B29C 66 / 8614 ;
                         A01B 1 / 18; Y10T 24 /44778 ; Y10T                                  12 Claims, 11 Drawing Sheets

                                                                                       310
                                                                                                        309
                                                                              O   RS
                                                                     VEND




                                                                                                              e 305

                                           3070                                                  came

                                   306 evenementen

                                     304             C
                                                              302
   Case
    Case4:19-cv-04782
         4:19-cv-04782 Document
                        Document3-1
                                 1-1 Filed
                                      Filedon
                                            on12/10/19
                                               12/09/19ininTXSD
                                                            TXSD Page
                                                                  Page11 of 41
                                                                       4 of 104


                                                           US 10 ,Page
                                                                   271 ,2617 B2

(56)                    References Cited
                 U . S . PATENT DOCUMENTS
  2011/0308057 A1 * 12 /2011 Abrams .............          B25B 7 /02
                                                             29 /426 .5
 2018 /0071902 A1         3/2018 Davison et al.
                   OTHER PUBLICATIONS
CSC Solutions LLC , Bucklebee product, http ://www .bucklebee.
com / .
Marlene Robinson , BuckleBopper product, https ://bucklebopper.
com .
Mathiowetz et al., “ Grip and Pitch Strength : Normative Data for
Adults,” Arch . Phys. Med . Rehabil., vol. 66 , pp . 69 -74 (1985 ).
U .S . Appl. No. 62/ 394 ,080 , filed Sep . 13 , 2016 .
* cited by examiner
Case
 Case4:19-cv-04782
      4:19-cv-04782 Document
                     Document3-1
                              1-1 Filed
                                   Filedon
                                         on12/10/19
                                            12/09/19ininTXSD
                                                         TXSD Page
                                                               Page12 of 41
                                                                    5 of 104


      atent        Apr. 30 , 2019                             Sheet 1 of 11                                        US 10 ,271 ,617 B2




                                    ILONGAN
                                                Mond
                                                                JUKAIWCHE   INE D
                                                                                           NEKAACMANTAU



                               en
                            VONUR


                    106mm                                                                                 -- 103


                                                                                             WOWO
                                                    FIG . 1A
                                         104/ 105

                                                                             D
                                                                             THE




                                                                             AR
                                                    min uma
                      101                           gal na                          WARN
                                                  necon U PriorArt
                                                FIG . 1B
Case
 Case4:19-cv-04782
      4:19-cv-04782 Document
                     Document3-1
                              1-1 Filed
                                   Filedon
                                         on12/10/19
                                            12/09/19ininTXSD
                                                         TXSD Page
                                                               Page13 of 41
                                                                    6 of 104


      atent           Apr. 30 , 2019              Sheet 2 of 11                                        US 10 ,271 ,617 B2


            200A




                               ha h
                                                                                   VW
                   203A

                                                                                                Prior Art
                                                                 MOVIU
                                       FIG . 2A
                                                             W


               200B

                                                         ouwen
                                       .
                                           LIC




                   203B        www
                                                                         DECLADOLUTEL UTOIELUA
                                                                                        NANNA

                                                 ?????????




                                                                                                Prior Art


                                       FIG . 2B
 Case
  Case4:19-cv-04782
       4:19-cv-04782 Document
                      Document3-1
                               1-1 Filed
                                    Filedon
                                          on12/10/19
                                             12/09/19ininTXSD
                                                          TXSD Page
                                                                Page14 of 41
                                                                     7 of 104


U . S . Patent                  Apr. 30 , 2019              Sheet 3 of 11                       US 10 ,271 ,617 B2




                                                                                                  309
                                           301
       300                                                                   thout


                                                                                           ma




                     rat



                                                                                     red

                                                                - -------
             306 homenagement                                        WELCO

                                             ----
              304               C
                                                 TETE
                                                    * 302

                                                   FIG .3A
Case
 Case4:19-cv-04782
      4:19-cv-04782 Document
                     Document3-1
                              1-1 Filed
                                   Filedon
                                         on12/10/19
                                            12/09/19ininTXSD
                                                         TXSD Page
                                                               Page15 of 41
                                                                    8 of 104


      atent          Apr. 30 , 2019   Sheet 4 of 11       US 10 ,271 ,617 B2




               300




        307 .
        306 308                                          310

                                                                309




                                              NONNO




                               FIG .3B
Case
 Case4:19-cv-04782
      4:19-cv-04782 Document
                     Document3-1
                              1-1 Filed
                                   Filedon
                                         on12/10/19
                                            12/09/19ininTXSD
                                                         TXSD Page
                                                               Page16 of 41
                                                                    9 of 104


      atent        Apr. 30 , 2019    Sheet 5 of 11                US 10 ,271 ,617 B2




          400




                                       ?????????




                          +   +




                                                     --- - - ---- -----


                                    FIG . 4
 Case
 Case4:19-cv-04782
      4:19-cv-04782 Document
                    Document3-1
                             1-1 Filed
                                 Filedon
                                       on12/10/19
                                         12/09/19in
                                                  inTXSD
                                                    TXSD Page
                                                         Page17
                                                              10of
                                                                of104
                                                                   41


U . S . Patent          Apr. 30 , 2019               Sheet 6 of 11   US 10 ,271 ,617 B2




                                   OC HE


                                           nnnnn   www




                                                                           520


      506



                 WALA                        CEE   Wwwvwwww




                                           FIG .5
Case
Case4:19-cv-04782
     4:19-cv-04782 Document
                   Document3-1
                            1-1 Filed
                                Filedon
                                      on12/10/19
                                        12/09/19in
                                                 inTXSD
                                                   TXSD Page
                                                        Page18
                                                             11of
                                                               of104
                                                                  41


     atent             Apr. 30 , 2019                          Sheet 7 of 11         US 10 ,271,617 B2




                                                                                     612

                                                                                     TRE
                                                                           609


      an




                     WE
                     +




                                                                                           ww




             + + +   ANNAN
                             111111
                                NNNNNN

                                * **   + + ++ +   C
                                                        * **

                                                      XXX
                                                                                 o
                                                  FIG .6
                                                  X
Case
Case4:19-cv-04782
     4:19-cv-04782 Document
                   Document3-1
                            1-1 Filed
                                Filedon
                                      on12/10/19
                                        12/09/19in
                                                 inTXSD
                                                   TXSD Page
                                                        Page19
                                                             12of
                                                               of104
                                                                  41


     atent                Apr. 30 , 2019                     Sheet 8 of 11     US 10 ,271 ,617 B2




                                                         Www




                                        wwwwwwwwwwwWARAMMA




         M   +1   RECEN
                                * * *              WWWWWWWWWW           WAKE




                                                 FIG . 7
Case
Case4:19-cv-04782
     4:19-cv-04782 Document
                   Document3-1
                            1-1 Filed
                                Filedon
                                      on12/10/19
                                        12/09/19in
                                                 inTXSD
                                                   TXSD Page
                                                        Page20
                                                             13of
                                                               of104
                                                                  41


     atent            Apr. 30 , 2019                        Sheet 9 of 11                                         US 10 ,271 ,617 B2

                                                   XOR

                                                   RE




                            NIKA
                                                                         BO O O                0




                                                                                                                    8B
                                                                                                                    .
                                                                                                                    FIG

                                                         wi a
              800
                                                                AR N              YU
                                                                       WANDE




                                                                         AR




                                   We                                                  WAN L
                                                                                               +




                                                                                                        WO ILAM
                    801
                                   Ww wn
                                                                                               +




                                                                                               +




                                        ht
                                             Ver



                                                                                                                     8A
                                                                                                                     .
                                                                                                                     FIG
        800
                      298

                     098
                         w                                                              WwXm       ww
 Case
 Case4:19-cv-04782
      4:19-cv-04782 Document
                    Document3-1
                             1-1 Filed
                                 Filedon
                                       on12/10/19
                                         12/09/19in
                                                  inTXSD
                                                    TXSD Page
                                                         Page21
                                                              14of
                                                                of104
                                                                   41


U . S . Patent                Apr . 30 , 2019       Sheet 10 of 11                        US 10 ,271,617 B2




                             900A




            **




             SKEERT




                                                    www . XXWWW.WYYYYYWWWWWWWWWWWWWWWWW

                      Wuuuwwwwwww
                                                  wwwrrriWARMWWWWWWWW




                                                FIG .9A
Case
Case4:19-cv-04782
     4:19-cv-04782 Document
                   Document3-1
                            1-1 Filed
                                Filedon
                                      on12/10/19
                                        12/09/19in
                                                 inTXSD
                                                   TXSD Page
                                                        Page22
                                                             15of
                                                               of104
                                                                  41


     atent        Apr. 30 , 2019       Sheet 11 of 11       US 10,271,617 B2




                            961B       901B
           960B
                           Wwwy




                                                            AN W   hu   KAN




                            MOMYAKRA            wwwwwwnnn




                                   FIG . 9B
   Case
   Case4:19-cv-04782
        4:19-cv-04782 Document
                      Document3-1
                               1-1 Filed
                                   Filedon
                                         on12/10/19
                                           12/09/19in
                                                    inTXSD
                                                      TXSD Page
                                                           Page23
                                                                16of
                                                                  of104
                                                                     41


                                                     US 10 ,271,617 B2
       DEVICE AND SYSTEM FOR ASSISTING                                   200A and 200B illustrated in FIGS . 2A and 2B , respectively,
       ACTUATION OF A BUCKLE RELEASE                                     as well as various other geometric and irregular shapes .
                                                                           Buckle fastening systems such as those described above
           CROSS -REFERENCE TO RELATED                                   can be inconvenient or challenging for certain people to
                      APPLICATIONS                                  5 operate for various reasons , including individual variability
                                                                      in hand and finger size and strength , certain physical or
   This application claims the benefit of and priority to U . S .        medical conditions such as tendonitis and arthritis, and the
Provisional Application Ser. No. 62 /415,407, entitled                   like. Likewise , the force required for actuation of buckle
“ DEVICE AND SYSTEM FOR ASSISTING ACTUATION releases used for certain car seat models can be relatively
OF A BUCKLE RELEASE ," filed on Oct. 31, 2016 . The 10 high , creating discomfort, pain , or fatigue for users , for
entire disclosure of the aforementioned application is incor example , thatmay be required to operate such a buckle on
porated herein by reference for any purpose .                            a frequent basis in various circumstances . Devices and
                                                                         systems that can be used to assist actuation of buckle
                            FIELD                                        releases are desirable .
                                                                    15      The present disclosure provides devices and systems that
   The present disclosure relates to a device and system for             can be used to assist actuation of a restraint system buckle
actuation of a buckle release . In particular, the disclosure            release button .
relates to a device and system that can be used to assist
actuation of buckle release buttons in restraint system buck                                      SUMMARY
les.                                                                20
                                                                            In various embodiments , a device for actuating a buckle
                      BACKGROUND                                         release button can comprise a first arm , a second arm , and a
                                                                         connecting portion disposed between the first arm and the
  Restraint systems such as child safety seats used in                   second arm . A first arm can comprise a first end and a button
automobiles as well as restraint systems used in other 25 contact feature with a button contact surface . The first arm
settings frequently include a buckle -type fastening mecha - can define a first axis , and the second arm can define a
nism to secure two ormore portions of the restraint system               second axis. The connecting portion can comprise a
around a restraint system occupant. A buckle -type fastening             U -shape , and the first arm and the second arm can comprise
mechanism generally includes a buckle attached to an end of              a laterally -opposed configuration . A device for actuating a
a first section of restraint system belting and a tongue or 30 buckle release button can comprise an attachment feature . A
latchplate portion attached to a second section of restraint             device can have a unitary constriction and can comprise a
system belting. The tongue is inserted into the buckle where             polymer material. A device can be configured to be elasti
it is releasably latched to secure the first and second sections         cally deformable in one of the first arm , the second arm , and
of restraint system belting . Child safety seats frequently              the connecting portion to provide for movement of the
include a third section of belting with a second tongue that 35 button contact surface through a first deflection distance in
is inserted into the buckle adjacent the first tongue, with both         response to a first deflection force . A device can be config
tongues being secured by the buckle .                        ured to provide a first restoring force in response to the
   A buckle generally comprises a housing containing a       movement through the first deflection distance . A device can
spring - loaded latching mechanism for releasably latching comprise a first spring constant. A device can comprise a
the tongue or tongues within the buckle. A typical buckle 40 relief slot. A relief slot can be disposed in one of the first
housing comprises an aperture containing an actuating but                arm , the second arm , and the connecting portion of a device .
ton for operating and releasing the latching mechanism . A                 relief slot can provide for one of a reduced first restoring
spring in the latching mechanism exerts a bias urging the                force and a reduced first spring constant relative to an
button and/ or latching mechanism toward the latched posi-               equivalent device lacking a relief slot .
tion . The button can be operated by depressing the button 45 A first deflection distance can be sufficient to actuate a
using a thumb or fingertip against the bias of the spring with buckle release device. A button contact feature can comprise
sufficient pressure to overcome the spring force of the                  a button contact feature height. The button contact feature
latching mechanism and move the button and mechanism                     height can be configured to provide buckle housing clear
from the latched position to a release position , thereby                ance at the first deflection distance . A device can comprise
causing the latching mechanism to release the tongue (s ) 50 an inter - arm dimension . In various embodiments, an inter
from the latched condition . In a typical buckle , the area of           arm dimension can be configured to provide a clearance fit
the actuating button approximates or is configured to be                 with respect to a buckle housing . In various embodiments ,
pressed by a person ' s thumb or fingertip . The surface of the          an inter -arm dimension can be configured to provide a
actuating button against which the thumb or fingertip presses compression fit with respect to a buckle release button .
is generally flush with or recessed from the surface of the 55 Insertion of a buckle into a device configured to provide a
housing surrounding the button .                               compression fit with respect to a buckle release button can
   A prior art buckle fastening system 100 is illustrated in             produce a first deflection force , and the first restoring force
FIGS. 14 and 1B . Buckle fastening system 100 includes produced by the device in response to the first deflection
buckle 101 comprising buckle housing 102 and buckle force can provide buckle release actuation assistance .
release button 103 . Buckle fastening system 100 also 60 In various embodiments , a system for actuating a buckle
includes first and second tongues 104 and 105 . Buckle release is provided . A system can comprise a buckle release
housing 102 has a depth d . Buckle housing 102 further device and an attachment device . A buckle release device
includes a button surround 106 defining an opening in the                can comprise an attachment feature configured to receive an
front face of the buckle that defines the opening for buckle     attachment device . The attachment device can be inserted
release button 103 . Buckle release buttons can be configured 65 into the attachment feature and can be removably attached to
in a variety of shapes , including the square and circular the attachment feature . An attachment device can comprise
buttons 203A and 203B of prior art buckle fastening systems              one of a key ring , a carabiner, a steel cable loop , a chain , a
   Case
   Case4:19-cv-04782
        4:19-cv-04782 Document
                      Document3-1
                               1-1 Filed
                                   Filedon
                                         on12/10/19
                                           12/09/19in
                                                    inTXSD
                                                      TXSD Page
                                                           Page24
                                                                17of
                                                                  of104
                                                                     41


                                                   US 10 ,271,617 B2
wire , and a lanyard . A system in accordance with various            As used herein , the term “ unitary construction ” means
embodiments can comprise one of a flashlight and a seat belt        constructed of a single piece of material.
cutter.                                                                With reference to FIGS. 3A and 3B , a device 300 is
                                                                   illustrated . As described herein , device 300 can be used to
      BRIEF DESCRIPTION OF THE DRAWINGS                          5 assist actuation of a buckle fastening system . In accordance
                                                                   with various embodiments , device 300 can comprise a first
   The subjectmatter of the present disclosure is particularly      arm 301, a second arm 302 , and a connecting portion 305
pointed out and distinctly claimed in the concluding portion        disposed between the first arm and the second arm . First arm
of the specification . A more complete understanding of the 301 can have an elongated configuration and define a first
present disclosure , however, may best be obtained by refer - 10 axis A - A ', and second arm 302 can have an elongated
ring to the detailed description and claimswhen considered configuration and defines a second axis B -B '. In various
in connection with the drawing figures .                            embodiments , a first arm , second arm , and /or connecting
   FIGS. 1A and 1B illustrate front and side views of a prior portion can have a square or rectangular cross section , or
art buckle fastening system , respectively ;                  they can have a circular, ellipsoid , or other geometric or
   FIGS. 2A and 2B illustrate prior art buckle fastening 15 non - geometric cross section . Device 300 can be configured
systemshaving different buckle release button shapes ;              such that first arm 301 and second arm 302 comprise a
   FIGS. 3A and 3B illustrate perspective views of a device laterally - opposed configuration , as illustrated , with distal
for actuating a buckle release button in accordance with          end 303 of first arm 301 and distal end 304 of second arm
various embodiments;                                              302 configured opposite one another. Connecting portion
   FIG . 4 illustrates a side view of a device for actuating a 20 305 can comprise a U - shaped segment joining the proximal
buckle release button in accordance with various embodi-            ends of first arm 301 and second arm 302. In various
ments ;                                                             embodiments , axes A - A ' and B - B ' of a device such as device
   FIG . 5 illustrates a side view of a device for actuating a      300 can be substantially aligned with one another, or the
buckle release button in accordance with various embodi-            axes may converge or diverge from the distal ends of the first
ments ;                                                          25 and second arms to the proximal portion of the arms. In
  FIG . 6 illustrates a front perspective view of a device for      various embodiments, a connecting portion can have other
actuating a buckle release button in accordance with various        configurations or profiles , such as a rectangular profile or
embodiments ;                                                       any other profile suitable to provide a first device arm and a
  FIG . 7 illustrates a side view of a device for actuating a       second device arm in a laterally - opposed configuration .
buckle release button in accordance with various embodi - 30 First arm 301 and second arm 302 can define a buckle
ments ;                                                         space 306 between the interior surfaces of the arms. Device
   FIGS. 8A and 8B illustrate side and perspective views of 300 can comprise a button contact feature 307 extending
a device for actuating a buckle release button in accordance into the buckle space 306 from the interior surface of first
with various embodiments; and                                   arm 301 . Button contact feature 307 can comprise a button
   FIGS. 9A and 9B illustrate side views of devices for 35 contact surface 308 facing toward second arm 302 . Button
actuating a buckle release button that include a belt cutter in contact feature 307 may be located near the distal end of first
accordance with various embodiments .                               arm 301 . In various embodiments , first arm 301 may extend
                                                                    distally past the location of button contact feature 307 .
                DETAILED DESCRIPTION                                Button contact feature 307 and button contact surface 308
                                                                 40 can be configured to operatively engage a buckle fastening
   The detailed description of exemplary embodiments                system button , as described in greater detail below .
herein makes reference to the accompanying drawings ,                  In various embodiments , device 300 can comprise an
which show exemplary embodiments by way of illustration             attachment feature 309 . An attachment feature such as
and their best mode . While these exemplary embodiments             attachment feature 309 can comprise a flange or protrusion
are described in sufficient detail to enable those skilled in the 45 configured to facilitate attachment of device 300 to a set of
art to practice the inventions, it should be understood that        keys , for example , by using an attachment device such as a
other embodiments may be realized and that logical and              key ring, carabiner, a steel cable loop , a chain , a wire , or a
mechanical changes may be made without departing from               lanyard . Attachment feature 309 can comprise an aperture
the spirit and scope of the inventions. Thus, the detailed          310 through which an attachment device can be inserted .
description herein is presented for purposes of illustration 50 With reference briefly to FIG . 6 , a key ring 612 is illustrated
only and not of limitation . For example , the steps recited in inserted into aperture 610 of attachment feature 609 for
any of the method or process descriptions may be executed       device 600 . With reference once more to FIGS. 3A and 3B ,
in any order and are not necessarily limited to the order           attachment feature 309 can be located on an outer surface of
presented . Furthermore, any reference to singular includes         connecting portion 305 , first arm 301, or second arm 302 , or
plural embodiments , and any reference to more than one 55 any other suitable location . In various embodiments , a
component or step may include a singular embodiment or              connecting feature need not comprise a protrusion , and
step . Also , any reference to attached , fixed, connected or the instead can comprise an aperture or other feature of device
like may include permanent, removable , temporary , partial,      300 that does not extend from a surface of device 300 .
full and /or any other possible attachment option . Addition         In various embodiments, device 300 can comprise a relief
ally, any reference to without contact (or similar phrases ) 60 slot 311 . Relief slot 311 can be disposed in one of the first
may also include reduced contact or minimal contact.              arm 301, the second arm 302, and the connecting portion
  As used herein , the term “ actuate ” means to cause a            305 . In various embodiments , relief slot 311 may be dis
device to operate , such as a fastening mechanism release .         posed in more than one portion of device 300 . For example
   As used herein , the term " spring constant" means an            and as illustrated , relief slot 311 extends through connecting
approximation of a factor characteristic of an elastically 65 portion 305 and into proximal portions of first arm 301 and
deformable material in a particular configuration within the        second arm 302 . In various embodiments , a relief slot may
elastic limits of the material in the configuration .               also serve as an attachment feature . In various embodiments
   Case
   Case4:19-cv-04782
        4:19-cv-04782 Document
                      Document3-1
                               1-1 Filed
                                   Filedon
                                         on12/10/19
                                           12/09/19in
                                                    inTXSD
                                                      TXSD Page
                                                           Page25
                                                                18of
                                                                  of104
                                                                     41


                                                      US 10 ,271,617 B2
and as further described below , a relief slot such as relief slot      the second arm 302 in response to a first deflection force .
311 may be configured to reduce one of the first restoring              The device can be configured to produce a first restoring
force and the first spring constant of device 300 as compared           force in response to movement through the first deflection
to an equivalent device that is not configured with a relief            distance biased in a direction opposite the first deflection
slot.                                                                5 distance . In various embodiments , the first restoring force
   In various embodiments, a device such as device 300 may              can be produced as a function of the spring constant of an
be manufactured from a polymer material. Polymer mate                   elastically deformable material used to fabricate the device ,
rials thatmay be used can include , for example , high density          for example , for unitarily constructed devices such as device
polyethylene (HDPE ), acrylonitrile butadiene styrene                   300, in response to movement of the device through the first
(ABS ), polypropylene (PP), polyester (PES ), polyethylene 10 deflection distance . In various other embodiments, the first
terephthalate ( PET), polyvinyl chloride ( PVC ), polyamides restoring force can be produced by a spring or other com
(PA ) including various nylons, polyethylene /acrylonitrile             ponent of a mechanical connection , such as the hinge
butadiene styrene (PE /ABS ), and polycarbonate (PC ) , poly -         mechanism illustrated for device 500 (FIG . 5 ).
carbonate /acrylonitrile butadiene styrene (PC /ABS ), as well    In various embodiments , the first deflection distance can
as various resins ormaterials compatible with various addi- 15 be in a direction toward the second arm . For example and
tive manufacturing processes and/ or 3D printers, such as      with reference now to FIG . 4 , typical buckle housings used
Stratasys PolyJet materials. In various embodiments, a         for buckle fastening mechanisms may have buckle housing
device can comprise natural materials such as wood, bam -               depths of from about 0 . 75 in to about 1.25 in . A device such
boo, hemp- or algal-based biopolymers , and the like. Natural as device 400 can be configured such that distance D1 (i.e .,
materials can be used in a composite material, for example , 20 the inter -arm dimension ) provides for clearance of a typical
a wood and adhesive laminate (i.e ., plywood ). In various buckle housing relative to a buckle housing depth dimen
embodiments comprising a laminated material, layers may         sion , enabling an operator to insert device 400 around a
be oriented such that the layer arrangement is visible in a     buckle housing without deflection or deformation of the
side view . In various embodiments comprising laminate          device . The operator may position device 400 relative to the
wood or plywood , the grains of the veneers may be config - 25 buckle so that button contact feature 407 is positioned over
ured to permit a suitable level of flexibility and /or a suitable       the buckle release button . When device 400 is suitably
spring constant. Composite materials such as carbon fiber - ,          positioned , the operator may squeeze device 400 to com
graphite fiber -, and graphene fiber- reinforced polymers may          press the device , engaging button contact surface 408 with
be used in a device in accordance with various embodi-      the underlying buckle release button as the button contact
ments . Likewise , a device can comprise metals or metal 30 surface travels through the first deflection distance in
alloys including steel, titanium , chromium , cobalt-chrome,            response to the first deflection force provided by the opera
stainless steel, aluminum , and the like.                               tor. In operation , the first deflection distance may be suitable
   In various embodiments , a device such as device 300 can             to actuate the buckle release button , releasing the buckle
comprise a phosphorescent (and/or photoluminescent ) mate     from the latched condition to the unlatched condition . A
rial to provide the device with a capacity to glow in dark 35 device may be configured to provide a first deflection
conditions . For example , a phosphorescent material such as  distance suitable to produce a sufficient button travel dis
zinc sulfide or strontium aluminate can be incorporated into            tance for various buckle release buttons . For example , the
the device , such as by incorporation into a polymer com -             button travel distance required for actuation of various
posite used to manufacture the device or by applying to the            buckle release buttons can be from about 0 . 10 in to about
device in a coating. Use of phosphorescent material in a 40 0 . 40 in . A device may also be configured to provide any
device to confer a glow - in -the- dark characteristic can facili - additional deflection distance necessary to provide a device
tate a user ' s ability to locate the device under dark condi-         with a clearance fit (i.e ., the distance between the button
tions.                                                                 contact surface and the button surface ). In various embodi
   In various embodiments , a device such as device 300 may           m ents , a device may be configured to provide a first deflec
be unitarily constructed , such as by injection molding or 45 tion distance within the range of from about 0 .10 in to about
additive manufacturing as a single component. In various                1. 30 in . In various embodiments, a device can be configured
other embodiments , a device can comprise two or more                  to be compatible with a particular buckle fastening system or
components attached to one another by various mechanical               with selected buckle fastening systems, and different devices
attachment methods including adhesives , welding, fasten -    can be configured to operate with different buckle fastening
ing , joinery , hinge, or other mechanical attachment. For 50 systems. A device in accordance with various embodiments
example and with reference briefly to FIG . 5 , device 500    can be configured to provide a first deflection distance
comprises a hinge 520 configured in the connecting portion              sufficient to produce actuation of various buckle release
505 between first arm 501 and second arm 502. Any of a                 buttons for any buckle fastening system now in existence or
variety of hinge configurations may be suitable for use in a            that may be produced in the future .
device in accordance with various embodiments of the 55                   In operation of a device in accordance with the embodi
present disclosure . In various embodiments , a hinge or other         ment described above providing a clearance fit relative to a
mechanical attachment can include a spring configured to               buckle fastening system , an operator must overcome the
bias the first arm and the second arm of the device toward              restoring force produced by the device in response to elastic
an open position suitable to receive a buckle in buckle space    deformation of the device and movement of the button
506 .                                                         60 contact surface through the first deflection distance . In
   With reference again to FIGS. 3A and 3B , the illustrated            various embodiments , the restoring force and /or spring
device 300 comprises a unitary construction . Device 300 can            constant of the device may depend on the configuration of
be configured to be elastically deformable in one of the first          the device , including , for example , the materials , dimen
arm 301, the second arm 302, and the connecting portion                 sions, and other features of the device . Additionally , in
305. The elastically deformable configuration of device 300 65 operation of a device in accordance with the embodiment
can provide for movement of button contact surface 308          described above, the operator must overcome the force
through a first deflection distance relative to the position of biasing the buckle release button toward the latched posi
    Case
    Case4:19-cv-04782
         4:19-cv-04782 Document
                       Document3-1
                                1-1 Filed
                                    Filedon
                                          on12/10/19
                                            12/09/19in
                                                     inTXSD
                                                       TXSD Page
                                                            Page26
                                                                 19of
                                                                   of104
                                                                      41


                                                                               US 10 ,271,617 B2
tion . The restoring force and/or spring constant of a device                                           additional fingers or portions of the operator 's hand ( s), or by
may depend on the configuration of the device , including the                                           providing a mechanical advantage, such as by extension of
material used , the shape and dimensions of the device , the                                            the distal ends of the first arm and /or the second arm distally
presence, location , and configuration of features such as a                                            from the connecting portion (i.e ., the fulcrum ) to produce
relief slot or a hinge , and the like . In various embodiments , 5 enhanced leverage (i. e ., via a class two lever ) with the
a device can be configured such that the force required to                                              operator able to exert force distally to the button the load ).
produce a first deflection distance suitable to actuate a                                                 In various other embodiments , a device such as device
buckle release button can be from about 1. 0 newtons to                                                 400 can be configured such that distance D1 provides for a
about 8 .0 newtons. For example , the force required to                                                 compression fit around a buckle housing and/ or buckle
produce the first deflection distance may be about 1 . 0 , 1 .5 , 10 release button . For example , a device can be configured such
2 .0 , 2 . 5 , 3 . 0 , 3 . 5 , 4 . 0 , 4 .5 , 5 . 0 , 5 .5 , 6 .0 , 6 .5 , 7 .0 , 7 .5 , or about       that distance D1 is less than a buckle housing depth and /or
8 .0 newtons. In various embodiments, the force required to                                             a distance from the front face of a buckle button in a latched
produce a first deflection distance suitable to actuate a                                              position and the back of the buckle housing. In such an
buckle release button can be produced by a device operator embodiment, insertion of a device around a buckle will
with a grip force that is lower than that of an average 15 produce a first deflection distance resulting in the buckle
population to allow a device to be operated by individuals                                              contact surface moving away from the second arm of the
with various physical conditions that may negatively affect                                            device . A tapered front surface of the button contact feature
 grip force . For example , a grip force required to produce a                                         may facilitate opening of the arms of the device and move
first deflection distance suitable to actuate a buckle release                                         ment of the buckle contact surface through a first deflection
button can be less than about 50 N , or less than about 40 N , 20 distance in response to contact with a button housing and
or less than about 30 N , or less than about 25 N , or less than                                        lateral pressure and movement of the device relative to the
about 20 N , or less than about 15 N , or less than about 10                                           buckle housing to produce insertion of the buckle. The first
N . In various embodiments, a device can comprise a relief                                             restoring force produced by the device can provide buckle
slot such as relief slot 311 ( FIG . 3 ) that may be configured                                        release actuation assistance , with the bias of the device in a
to provide a reduced first restoring force and / or spring 25 direction opposite of that producing the first deflection
constant as compared to an equivalent device comprising the   distance tending to produce depression of a buckle release
samematerial and the same dimensions but lacking the relief button when the button contact surface engages the button .
slot.                                                         In various embodiments , a device can be configured such
   In accordance with various embodiments of the present that the restoring force is sufficient to actuate a buckle
disclosure, a device can be configured to provide suitable 30 release button , or a device can be configured such that the
strength and structural rigidity for durability and reliable                                           restoring force is sufficient to partially actuate a release
operation of the device over many buckle release cycles . A                                            button , and further compressive force must be provided by
device can also be configured to provide a restoring force                                             an operator to fully actuate a buckle release button . In such
and/ or spring constant during operation of the device to                                              embodiments , the compressive force provided by an opera
produce a first deflection distance that is sufficiently low that 35 tor may be less than that required for an equivalent device
it is not prohibitive to users . For examples, users of a device                                        configured to provide a clearance fit rather than a compres
may have certain physical ormedical limitations that present                                           sion fit.
challenges to compression of a buckle release button without                                             In various embodiments , the button contact feature may
the aid of a device as disclosed herein , or to compression of                                         be configured to engage and/ or actuate a buckle release
a device such as those disclosed herein that do not include 40 button of one or more buckle fastening systems. For
a feature configured to reduce the restoring force and /or                                              example , the button contact surface may be configured with
spring force constant such as a relief slot or a hinge . A relief                                       a length and a width suitable to engage a button surface of
slot can be disposed in one of the first arm , the second arm ,                                         one or more buckle fastening systems without interference
and the connecting portion . The configuration of a relief slot,                                        from a surrounding buckle housing . For example , a button
including the position and size can be adjusted to " tune” the 45 contact surface may be configured with a length and width
restoring force and / or spring force constant of a device . For                                        of about 0 . 5 in in each dimension , and such a button
example , a longer or a wider relief slot can produce a                                                configuration may be compatible with square or rectangular
decreased spring force constant compared to a shorter or a                                             buttons as well as round , oval, or irregularly shaped buttons
narrower relief slot .                                         with dimensions larger than that of the button contact
   In various embodiments , a device can be configured with 50 surface . Likewise , a button contact feature may be config
relief areas. A relief area may be provided for various ured with a button contact feature height H (FIG . 4 ) suitable
reasons , such as to reduce the amount of material required                                             to provide actuation of one or more buckle fastening system
to manufacture a device and / or to reduce the occurrence of                                           buttons while preventing contact or interference between the
manufacturing irregularities such as sink marks or depres - buckle housing and the inner surface of the first arm (i.e .,
sions that may occur in thicker portions of injection molded 55 buckle housing clearance ) during operation , such as when
devices . With reference briefly to FIGS. 8A and 8B , a device                                         the button contact feature has moved through a first deflec
800 with a relief area 850 is illustrated . Relief area 850 is                                         tion distance . Moreover, a device may be configured with a
defined by a perimeter wall 851 and an inner wall 852.                                                 buckle space depth D2 suitable to prevent interference
Device 800 can comprise a pair of relief areas such as relief                                          between an inner wall of the connecting portion and the
area 850 configured on opposite sides of first arm 801.                                             60 lateral wall of a buckle housing , and / or to provide sufficient
   In various embodiments, a configuration of a device such                                             space for an operator to insert one or more fingers between
as device 400 (FIG . 4 ) can provide an operator with certain                                          the inner wall of the connecting portion and the buckle
benefits facilitating exertion of sufficient force to produce                                          housing to facilitate removal of the device from the buckle
the first deflection distance . For example , the configuration                                        following actuation of the buckle release button . In various
of the device can provide enhanced ergonomics , such as by 65 embodiments , D2 can be from about 1 .25 in to about 2 .5 in .
providing added surface area by which an operator can exert                                                A device disclosed herein may provide certain advan
force on the buckle release button , permitting engagement of                                           tages, such as reducing pressure transmitted from the buckle
   Case
   Case4:19-cv-04782
        4:19-cv-04782 Document
                      Document3-1
                               1-1 Filed
                                   Filedon
                                         on12/10/19
                                           12/09/19in
                                                    inTXSD
                                                      TXSD Page
                                                           Page27
                                                                20of
                                                                  of104
                                                                     41


                                                        US 10 , 271,617 B2
                                                                                                            10
housing to a restrained child or passenger during actuation               In various embodiments , a system can comprise a seat belt
of the buckle release button due to the laterally - opposed             cutter. A seat belt cutter can be integrated into a buckle
configuration of the first arm and the second arm . In contrast,        release device for use in emergency situations. Referring
simple operation of a button by depression with an opera                now to FIGS. 9A and 9B , devices with integrated seat belt
tor 's finger or other prior art tools for pressing a button that 5 cutters are shown . Device 900A illustrated in FIG . 9A
lack an opposing arm either transmit pressure through the includes a seat belt cutter comprising blade 960A embedded
buckle housing to the person under the buckle housing or            in first arm 901A of device 900A with a belt slot 961A
require the operator to use his hand or fingers to provide an           opening into the interior of the device. Device 900B illus
opposing force . In addition , the devices disclosed herein do
not require attachment to the buckle or an associated strap , 10 trated in FIG . 9B includes a seat belt cutter comprising blade
                                                                 960B with a belt slot 961B opening toward the top of first
as required by other prior art devices . Instead, the devices    arm 901B . In operation , a device such as device 900A or
disclosed herein are designed to be removably inserted 900B             comprising a seat belt cutter is positioned such that a
around a buckle with each use , with the device remaining seat belt
under the control and supervision of a mature operator, for 961A or is961B    inserted into the opening of a belt slot such as
                                                                                  , and the device is moved relative to the
example , a driver or parent, thereby preventing inadvertent 15
or unsupervised operation by a restrained child or other         inserted  seat belt such that the blade (e .g ., blade 960A or
passenger at inappropriate moments .                                    960B ) contacts and cuts the inserted seat belt. In various
   In various embodiments , a system that can be used to                embodiments, a seat belt cutter may be configured so as to
assist actuation of a buckle release button is provided . A minimize
                                                               or person
                                                                         risk of inadvertent contact with clothing or a child
                                                                         restrained by a buckle fasteningmechanism during
system can comprise a device in accordance with the present 20
disclosure . A system can further comprise an attachment use        of the buckle release device . For example a seat belt
                                                               cutter may comprise a removable safety gate that can be
device . The attachment device can be connected to the         opened to expose the seat belt cutter blade and permit
attachment feature . An attachment device can comprise a
                                                                insertion of a seat belt into the cutter .
ring, a chain , a carabiner, a wire , a cable , a lanyard , a strap ,
or similar device . An attachment device can be any device 25                           EXAMPLE 1
suitable to attach the device , for example , to an operator' s
key set or other similarly accessible and portable accessory .  Non - Destructive Defection Test Data for Device Prototypes
   In various embodiments , a system can comprise a light. A    Constructed from ABS and Polypropylene
light can be incorporated in a buckle release device . For                Prototypes of a device for actuating a buckle release in
example and with reference to FIG . 6 , a light 630 can be 30 accordance with various embodiments of the present disclo
inserted into distal end of first arm 601 ofdevice 600 . A light        sure were manufactured from acrylonitrile butadiene styrene
can also be inserted in other locations in a device , such as the
                                                                (ABS ) and from polypropylene and subjected to non -de
second arm or the connecting portion . A system can com structive         testing to determine the pressure required to
prise , for example , an LED flashlight removably inserted      achieve various  deflections of the button contact surface .
into a buckle release device . A system can further comprise 35 The results are shown in Table 1 .
a battery for a light inserted into the buckle release device .
The device can be configured so that the light and /or battery                                         TABLE 1
are removably inserted so that the battery can be replaced as
needed . A system can further comprise a switch for opera                         Results of non -destructive deflection distance testing .
tion of a light, such as switch 631 . A switch may be 40
co -located with the light and the buckle release device                                              Polypropylene                 ABS
                                                                                Pressure                Deflection              Deflection
configured to permit access to the switch on the inserted
light, or the switch may be located remotely from the light,                    0 . 42 lbs              0 . 05 in                 0 . 10 in
with wiring or other circuitry running between the light and                    0 . 98 lbs              0 . 16 in                 0 . 24 in
                                                                                1 . 40 lbs              0 .31 in                  0 .46 in
the switch . A switch may be located in a position that 45
provides for convenient operation of the light during opera
tion of the buckle release device , such as insertion of the               For the polypropylene prototype , 1.63 lbs of pressure was
buckle release device over a h1  , 12
                             buckle   .                                 required to produce sufficient deflection of the button con
   In various embodiments , a system can comprise a whistle .           tact surface to contact the opposite arm (0 . 56 inches of
A whistle may be attached to a buckle release device or 50 deflection ). For the ABS prototype, 1 . 74 lbs of pressure was
integrated into a buckle release device . A whistle may                 required to produce sufficient deflection of the button con
provide an operator with convenient access to a safety                  tact surface to contact the opposite arm (0 .67 inches of
whistle for use in emergency situations.                                deflection )
   In various embodiments, a system can comprise a glass                  Benefits, other advantages , and solutions to problems
breaker. A glass breaker can comprise a pointed steel tip , 55 have been described herein with regard to specific embodi
such as a tungsten carbide tip , attached to the buckle release ments . Furthermore , the connecting lines shown in the
device . A glass breaker can also comprise an automatic         various figures contained herein are intended to represent
center punch tool, such as a spring loaded automatic center      exemplary functional relationships and /or physical cou
punch . A glass breaker may be attached , for example, at the plings between the various elements . It should be noted that
distal end of the first arm or the second arm or to an outer 60 many alternative or additional functional relationships or
wall of the connecting portion .                                        physical connections may be present in a practical system .
   In various embodiments, a system can also comprise a        However, the benefits , advantages , solutions to problems,
bottle opener. With reference to FIG . 7 , a system can        and any elements that may cause any benefit, advantage , or
comprise a device 700 with a bottle opener 740 located in an   solution to occur or become more pronounced are not to be
outer wall of first arm 701. A system can comprise a device 65 construed as critical, required , or essential features or ele
with a bottle opener located in other locations of the device ,         ments of the inventions. The scope of the invention is
such as the second arm or the connecting portion .                      accordingly to be limited by nothing other than the appended
   Case
   Case4:19-cv-04782
        4:19-cv-04782 Document
                      Document3-1
                               1-1 Filed
                                   Filedon
                                         on12/10/19
                                           12/09/19in
                                                    inTXSD
                                                      TXSD Page
                                                           Page28
                                                                21of
                                                                  of104
                                                                     41


                                                      US 10 ,271,617 B2
                                                                                                        12
claims, in which reference to an element in the singular is                  2 . The device of claim 1, wherein the device is configured
not intended to mean “ one and only one ” unless explicitly so            to be elastically deformable in one of the first arm , the
stated , but rather “ one or more .” Moreover, where a phrase              second arm , and the connecting portion to provide for
similar to " at least one of A , B , or C ” is used in the claims,        movement of the button contact surface through a first
it is intended that the phrase be interpreted to mean that A 5 deflection distance in response to a first deflection force, and
alone may be present in an embodiment, B alone may be wherein the device is configured to produce a first restoring
present in an embodiment, C alone may be present in an                    force in response to the movement through the first deflec
embodiment, or that any combination of the elements A , B      tion distance.
and C may be present in a single embodiment; for example
                                                      ole;,
 A and B , A and C , B and C , or A and B and C . Different 10 first3 . spring
                                                                         The device of claim 2 , wherein the device comprises a
                                                                               constant.
cross -hatching is used throughout the figures to denote
                                                                  4   . The  device
different parts but not necessarily to denote the same or relief slot disposed      of claim 3 , wherein the device comprises a
different materials .                                                                  in the connecting portion .
   Devices , systems, and methods are provided herein . It the       5 . The device of claim 2 , wherein the first deflection
detailed description herein , references to “ one embodi- 15 dist6 . Theis device
                                                            li 15 distance    sufficient to actuate a buckle release button .
                                                                                      of claim 2, wherein the button contact
ment” , “ an embodiment” , “ an example embodiment" , etc .,
indicate that the embodiment described may include á              feature comprises a button contact feature height, and
particular feature, structure, or characteristic , but every w herein the button contact feature height is configured to
embodiment may not necessarily include the particular provide buckle housing clearance at the first deflection
feature , structure , or characteristic. Moreover, such phrases 20 distance .
are not necessarily referring to the same embodiment. Fur -            7 . The device of claim 2 , wherein the device comprises an
ther, when a particular feature , structure , or characteristic is  inter- arm dimension .
described in connection with an embodiment, it is submitted            8 . The device of claim 7 , wherein the inter -arm dimension
that it is within the knowledge of one skilled in the art to        is configured to provide a clearance fit with respect to a
affect such feature, structure , or characteristic in connection 25 buckle housing.
with other embodiments whether or not explicitly described .           9 . The device of claim 7 , wherein the inter -arm dimension
After reading the description , it will be apparent to one          is configured to provide a compression fit with respect to a
skilled in the relevant art(s ) how to implement the disclosure buckle release button .
in alternative embodiments .                                           10 . The device of claim 9 , wherein insertion of a buckle
   Furthermore , no element, component, or method step in 30 irinto the device produces the first deflection force, and
the present disclosure is intended to be dedicated to the wherein the first restoring force produced by the device
public regardless of whether the element, component, or provides a buckle release actuation assistance .
method step is explicitly recited in the claims. No claim                11 . A system comprising:
elementherein is to be construed under the provisions of 35
U . S . C . 112 (f), unless the element is expressly recited using 35 a buckle release device ; and
the phrase “means for.” As used herein , the terms " com                an attachment device ;
prises” , “ comprising ” , or any other variation thereof, are        wherein    the buckle release device comprises :
intended to cover a non -exclusive inclusion , such that a               a first arm connected to a second arm by a U -shaped
process,method , article , or apparatus that comprises a list of             connecting portion , the device having a unitary con
elements does not include only those elements but may 40                    struction with each of the first arm , the second arm , and
include other elements not expressly listed or inherent to                   the connecting portion comprising a rectangular cross
such process , method , article , or apparatus .                            section , the first arm comprising a first arm inner
   What is claimed is:                                                      surface defining a first plane and a first arm outer
    1 . A unitarily constructed device for actuating a buckle               surface defining a second plane, the second arm com
release button comprising :                                        45       prising a second arm inner surface defining a third
   a first arm , wherein the first arm comprises a first end, a             plane and a second arm outer surface defining a fourth
        button contact feature comprising a rectangular cross               plane, the first plane, second plane, third plane , and
        section and a button contact surface, and a first arm                fourth plane being substantially parallel to one another,
     inner surface defining a first arm inner surface plane ,                  the first arm inner surface being continuous with the
     and wherein the first arm defines a first axis ;                50        second arm inner surface , and the first arm outer
   a second arm , wherein the second arm comprises a second                    surface being continuous with the second arm outer
     end and a second arm inner surface defining a second                      surface , and
     arm inner surface plane that is substantially parallel to    an attachment feature configured to receive the attach
     the first arm inner surface plane , and wherein the            ment device ; and
     second arm defines a second axis substantially parallel 55
     to the first axis ;                                        wherein the attachment device is inserted into the attach
   a connecting portion disposed between the first arm and                ment feature .
     the second arm , wherein the connecting portion com                     12 . The system of claim 11 , wherein the attachment
     prises a U - shape configured to dispose the first arm and           device is one of a key ring , a carabiner , a steel cable loop .
                                                              a chain , a wire , and a lanyard .
     the second arm in a laterally -opposed position ; and 60 aC
  an attachment feature disposed on the connecting portion .
Case
Case4:19-cv-04782
     4:19-cv-04782 Document
                   Document3-1
                            1-1 Filed
                                Filedon
                                      on12/10/19
                                        12/09/19in
                                                 inTXSD
                                                   TXSD Page
                                                        Page29
                                                             22of
                                                               of104
                                                                  41
Case
Case4:19-cv-04782
     4:19-cv-04782 Document
                   Document3-1
                            1-1 Filed
                                Filedon
                                      on12/10/19
                                        12/09/19in
                                                 inTXSD
                                                   TXSD Page
                                                        Page30
                                                             23of
                                                               of104
                                                                  41
Case
Case4:19-cv-04782
     4:19-cv-04782 Document
                   Document3-1
                            1-1 Filed
                                Filedon
                                      on12/10/19
                                        12/09/19in
                                                 inTXSD
                                                   TXSD Page
                                                        Page31
                                                             24of
                                                               of104
                                                                  41
Case
Case4:19-cv-04782
     4:19-cv-04782 Document
                   Document3-1
                            1-1 Filed
                                Filedon
                                      on12/10/19
                                        12/09/19in
                                                 inTXSD
                                                   TXSD Page
                                                        Page32
                                                             25of
                                                               of104
                                                                  41
Case
Case4:19-cv-04782
     4:19-cv-04782 Document
                   Document3-1
                            1-1 Filed
                                Filedon
                                      on12/10/19
                                        12/09/19in
                                                 inTXSD
                                                   TXSD Page
                                                        Page33
                                                             26of
                                                               of104
                                                                  41
Case
Case4:19-cv-04782
     4:19-cv-04782 Document
                   Document3-1
                            1-1 Filed
                                Filedon
                                      on12/10/19
                                        12/09/19in
                                                 inTXSD
                                                   TXSD Page
                                                        Page34
                                                             27of
                                                               of104
                                                                  41
Case
Case4:19-cv-04782
     4:19-cv-04782 Document
                   Document3-1
                            1-1 Filed
                                Filedon
                                      on12/10/19
                                        12/09/19in
                                                 inTXSD
                                                   TXSD Page
                                                        Page35
                                                             28of
                                                               of104
                                                                  41
Case
Case4:19-cv-04782
     4:19-cv-04782 Document
                   Document3-1
                            1-1 Filed
                                Filedon
                                      on12/10/19
                                        12/09/19in
                                                 inTXSD
                                                   TXSD Page
                                                        Page36
                                                             29of
                                                               of104
                                                                  41
Case
Case4:19-cv-04782
     4:19-cv-04782 Document
                   Document3-1
                            1-1 Filed
                                Filedon
                                      on12/10/19
                                        12/09/19in
                                                 inTXSD
                                                   TXSD Page
                                                        Page37
                                                             30of
                                                               of104
                                                                  41
Case
Case4:19-cv-04782
     4:19-cv-04782 Document
                   Document3-1
                            1-1 Filed
                                Filedon
                                      on12/10/19
                                        12/09/19in
                                                 inTXSD
                                                   TXSD Page
                                                        Page38
                                                             31of
                                                               of104
                                                                  41
Case
Case4:19-cv-04782
     4:19-cv-04782 Document
                   Document3-1
                            1-1 Filed
                                Filedon
                                      on12/10/19
                                        12/09/19in
                                                 inTXSD
                                                   TXSD Page
                                                        Page39
                                                             32of
                                                               of104
                                                                  41
Case
Case4:19-cv-04782
     4:19-cv-04782 Document
                   Document3-1
                            1-1 Filed
                                Filedon
                                      on12/10/19
                                        12/09/19in
                                                 inTXSD
                                                   TXSD Page
                                                        Page40
                                                             33of
                                                               of104
                                                                  41
Case
Case4:19-cv-04782
     4:19-cv-04782 Document
                   Document3-1
                            1-1 Filed
                                Filedon
                                      on12/10/19
                                        12/09/19in
                                                 inTXSD
                                                   TXSD Page
                                                        Page41
                                                             34of
                                                               of104
                                                                  41
Case
Case4:19-cv-04782
     4:19-cv-04782 Document
                   Document3-1
                            1-1 Filed
                                Filedon
                                      on12/10/19
                                        12/09/19in
                                                 inTXSD
                                                   TXSD Page
                                                        Page42
                                                             35of
                                                               of104
                                                                  41
Case
Case4:19-cv-04782
     4:19-cv-04782 Document
                   Document3-1
                            1-1 Filed
                                Filedon
                                      on12/10/19
                                        12/09/19in
                                                 inTXSD
                                                   TXSD Page
                                                        Page43
                                                             36of
                                                               of104
                                                                  41
Case
Case4:19-cv-04782
     4:19-cv-04782 Document
                   Document3-1
                            1-1 Filed
                                Filedon
                                      on12/10/19
                                        12/09/19in
                                                 inTXSD
                                                   TXSD Page
                                                        Page44
                                                             37of
                                                               of104
                                                                  41
Case
Case4:19-cv-04782
     4:19-cv-04782 Document
                   Document3-1
                            1-1 Filed
                                Filedon
                                      on12/10/19
                                        12/09/19in
                                                 inTXSD
                                                   TXSD Page
                                                        Page45
                                                             38of
                                                               of104
                                                                  41
Case
Case4:19-cv-04782
     4:19-cv-04782 Document
                   Document3-1
                            1-1 Filed
                                Filedon
                                      on12/10/19
                                        12/09/19in
                                                 inTXSD
                                                   TXSD Page
                                                        Page46
                                                             39of
                                                               of104
                                                                  41
Case
Case4:19-cv-04782
     4:19-cv-04782 Document
                   Document3-1
                            1-1 Filed
                                Filedon
                                      on12/10/19
                                        12/09/19in
                                                 inTXSD
                                                   TXSD Page
                                                        Page47
                                                             40of
                                                               of104
                                                                  41
Case
Case4:19-cv-04782
     4:19-cv-04782 Document
                   Document3-1
                            1-1 Filed
                                Filedon
                                      on12/10/19
                                        12/09/19in
                                                 inTXSD
                                                   TXSD Page
                                                        Page48
                                                             41of
                                                               of104
                                                                  41
     Case
      Case4:19-cv-04782
           4:19-cv-04782 Document
                          Document3-1
                                   1-2 Filed
                                        Filedon
                                              on12/10/19
                                                 12/09/19ininTXSD
                                                              TXSD Page
                                                                    Page49 of 11
                                                                         1 of 104


                                              B
Amazon Utility Neutral Patent Evaluation Procedure

Namra LLC (Patent Owner),                           Evaluation Number 6450966971
v.                                                  PATENT OWNER ARGUMENTS
B&B Solutions, LLC, dba UnbuckleMe (Seller).

Patent Owner Namra LLC, by and through its attorneys, submits the arguments and statements

that follow against B&B Solutions, LLC (“Seller”).

PRELIMINARY STATEMENT

        This is an evaluation of infringement of Claim 1 of Plaintiff's US Patent No. 10,342,298

(“the '298 Patent”) under the rules of Amazon’s Utility Patent Neutral Evaluation Procedure,

based on Seller’s unauthorized manufacture, use, importation, offer for sale, and sale of their

competing “UnbuckleMe” products (the “Accused Products”) on Amazon.

FACTS

        Namra LLC is the owner of the ‘298 Patent, entitled Device and System for assisting

Actuation of a Buckle Release, issued on July 9, 2019. Attached as Exhibit 1 is a true and correct

copy of the ‘298 Patent.

        Claim 1 of the ‘298 Patent, reproduced below, is directed to a hand-operated tool that

assists a user in depressing the button of a car seat buckle and actuating of the buckle release.

FIGS. 3A and 3B of the ‘298 Patent illustrate relevant details of the device recited in Claim 1.

Reference numerals for relevant elements of the claimed device illustrated in FIGS. 3A and 3B

are included in square brackets in the text of Claim 1 below to aid the Evaluator’s understanding

of certain claim elements with reference to the figures. Relevant portions of the specification

describing the features of the claimed device can be found at column 4, line 7 to line 62.
   Case
    Case4:19-cv-04782
         4:19-cv-04782 Document
                        Document3-1
                                 1-2 Filed
                                      Filedon
                                            on12/10/19
                                               12/09/19ininTXSD
                                                            TXSD Page
                                                                  Page50 of 11
                                                                       2 of 104




Claim 1 of the ‘298 Patent:

    A device [300] for actuating a buckle release button comprising:
           a first arm [301], wherein the first arm comprises a first end [303] and a button
      contact feature [307] with a button contact surface [308], and wherein the first arm
      defines a first axis [A-A’];
           a second arm [302], wherein the second arm defines a second axis [B-B’], and
      wherein the first axis and the second axis are substantially parallel;
           a connecting portion comprising a U-shape disposed between the first arm and the
      second arm [305], wherein the first arm and the second arm comprise a laterally-opposed
      configuration; and
           an attachment feature [309] comprising one of a flange or a protrusion having an
      aperture [310] configured to insertably receive an attachment device, wherein the
      attachment feature is disposed on the connecting portion and configured to facilitate
      attachment of the device to the attachment device;
           wherein the device is unitarily constructed, and
           wherein the device comprises a configuration suitable to be gripped about the first
      arm and the second arm by an operator's hand.

       Attached as Exhibit 2 is a claim chart further breaking Claim 1 of the ‘298 Patent down

into discrete elements and assigning an “Element Label” to each for comparison to Seller’s

Accused Product in the analysis that follows.

Seller’s Accused Product and Infringement Analysis

       Attached as Exhibit 3 and Exhibit 4 are true and correct printouts of the Seller’s Amazon

seller page and the product listing for Accused Product ASIN B07JJRVXJ1, respectively,

captured on November 25, 2019. The analysis that follows applies to all Accused Products sold

by Seller, which differ only in color and whether sold singly or as a pair.

       As a preliminary matter, Seller is expected to argue that the Accused Products do not

infringe because they include a thin rubberized or soft-touch material layer overmolded onto the

device and they are therefore not unitarily constructed. This argument fails because the Accused

Products include the claimed unitarily constructed device, or the Accused Product is equivalent.

       First, the Accused Products comprise an injection-molded polymer device (the “Base

Device”). The Base Device is overlayed with an overmolded layer. A photograph of the Base


                                                 2
   Case
    Case4:19-cv-04782
         4:19-cv-04782 Document
                        Document3-1
                                 1-2 Filed
                                      Filedon
                                            on12/10/19
                                               12/09/19ininTXSD
                                                            TXSD Page
                                                                  Page51 of 11
                                                                       3 of 104




Device and the removed overmolded layer is attached in Exhibit 5. The Base Device, without the

overmolded layer, meets each and every element of Claim 1 of the ‘298 Patent. The Accused

Products therefore, both with the overmolded layer and as the Base Device, literally infringe

every element of the claim in question, and the presence of the overmolded layer of material

does not render the Accused Products non-infringing.

       Second, the Accused Products would be found to infringe under the doctrine of

equivalents by any application of that doctrine to the analysis in this case.

       In the analysis that follows, each of the elements of Claim 1 of the ‘298 Patent set forth in

the claim chart in Exhibit 2 is compared to an exemplary Accused Product, both with the

overmolded layer and as the Base Device having the overmolded layer removed, to demonstrate

that each meets every element of and therefore infringes Claim 1 of the ‘298 Patent.

       Exhibit 6 provides views of Seller’s Accused Products, both with the overmolded layer in

place (top) and as the Base Device with the overmolded layer removed (middle). The defined

term “Accused Products” includes the Base Device both with and without the overmolded layer.

FIG. 8A of the ‘298 Patent showing a comparable view of an embodiment of the device of Claim

1 is also shown in Exhibit 6 (bottom) for reference and comparison against the Accused

Products. The images of the Accused Products and the device of Claim 1 shown in FIG. 8A are

labelled to identify all but a few of the elements of Claim 1 by the corresponding “Element

Label” in the claim chart of Exhibit 2.

Claim Element A: “A device for actuating a buckle release button comprising:”
       To the extent the preamble of Claim 1 of the ‘298 Patent is deemed a limitation of Claim

1, its meaning is clear without need for construction, and Seller’s Accused Products meet this

element. Attached as Exhibit 7 is a true and correct printout of the “How it Works” page from

Seller’s website captured on November 21, 2019, describing and illustrating how the Accused

                                                  3
    Case
     Case4:19-cv-04782
          4:19-cv-04782 Document
                         Document3-1
                                  1-2 Filed
                                       Filedon
                                             on12/10/19
                                                12/09/19ininTXSD
                                                             TXSD Page
                                                                   Page52 of 11
                                                                        4 of 104




Products are used for actuating a child car seat buckle release. Based on Seller’s own product

information, the Accused Products are intended to be used for actuating a buckle release button

of a car seat buckle and meet the ordinary meaning of the terms of the preamble.

Claim Element B: “a first arm, wherein the first arm comprises”
        The terms of this element require no construction and are readily understood by their

ordinary meaning. The ordinary meaning of the term “arm” simply means a slender projecting

structure resembling an arm. The Accused Products include a first arm “B” as shown in Exhibit 6

and meet this element.

Claim Element C: “a first end and”
        The term “first end” requires no construction and its meaning can be readily ascertained

in the context of the claim. The term “first end” means the distal terminus of the first arm of the

claimed device, denoted as element “C” in the images of the Accused Products and a

corresponding view of the claimed device in FIG. 8A. The Accused Products comprise a first

end “C” as shown in Exhibit 6.

Claim Element D: “a button contact feature with”
        The term “button contact feature” requires no construction and that its meaning can be

readily ascertained in the context of the claim. The Accused Products, both with and without the

overmolded layer, include a button contact feature “D” that performs the same function

described in the specification of the ‘298 Patent during operation. 1 The button contact feature

“D” of the Accused Products is shown in Exhibit 6 for comparison to a corresponding view of

the claimed device from FIG. 8A. The Accused Products comprise a button contact feature “D”

as shown in Exhibit 6.



1
 See Exhibit 1, FIGS. 3A and 3B and specification at column 4, lines 44-45, with reference to button contact feature
307: the “button contact feature” is “configured to operatively engaged a buckle fastening system button.”


                                                         4
    Case
     Case4:19-cv-04782
          4:19-cv-04782 Document
                         Document3-1
                                  1-2 Filed
                                       Filedon
                                             on12/10/19
                                                12/09/19ininTXSD
                                                             TXSD Page
                                                                   Page53 of 11
                                                                        5 of 104




Claim Element E: “a button contact surface, and”
         The meaning of the phrase “button contact surface” requires no construction and can be

understood from its plain meaning. As described above, the button contact feature contacts and

engages the button of a car seat buckle. The “button contact surface” is the surface of the button

contact feature that makes contact with the button of a car seat buckle. This claim element is

described in detail in structure and function throughout the specification, including at column 4,

lines 34 to 45. The specification, at column 6, lines 27 to 35 and with reference to FIG. 4, states:

     [t]he operator may position device 400 relative to the buckle so that button contact
     feature 407 is positioned over the buckle release button. When device 400 is suitably
     positioned, the operator may squeeze device 400 to compress the device, engaging
     button contact surface 408 with the underlying buckle release button as the button
     contact surface travels through the first deflection distance in response to the first
     deflection force provided by the operator.

As shown in Exhibit 6, the Accused Products comprise a button contact surface “E” and meet

this claim limitation.

Claim Element F: “wherein the first arm defines a first axis;”
         The phrase “wherein the first arm defines a first axis” needs no construction and can be

understood by its plain meaning.2 As shown in Exhibit 6, the first arms “B” of the Accused

Products both have an elongated configuration that define an axis “F” running the length of the

arms. Thus, the Accused Products meet this claim element.

Claim Element G: “a second arm,”
         The term “second arm,” like the term “first arm,” requires no construction and has a

similar meaning as the term “first arm.” The Accused Products, with and without the overmolded




2
 The specification of the ‘298 Patent provides support, stating at column 4, lines 13-14, that the first arm (301) of
device 300 illustrated in FIGS. 3A and 3B can have “an elongated configuration and define a first axis A-A’” as
shown in the figures.


                                                           5
    Case
     Case4:19-cv-04782
          4:19-cv-04782 Document
                         Document3-1
                                  1-2 Filed
                                       Filedon
                                             on12/10/19
                                                12/09/19ininTXSD
                                                             TXSD Page
                                                                   Page54 of 11
                                                                        6 of 104




layer, include a second arm “G” corresponding to a second arm “G” of the claimed device

illustrated in FIG. 8A of the ‘298 Patent, as shown in Exhibit 6.

Claim Element H: “wherein the second arm defines a second axis,”
         The phrase “wherein the second arm defines a second axis” needs no construction and

can be understood by its ordinary meaning.3 As illustrated in Exhibit 6, the second arms “G” of

the Accused Products, with or without the overmolded layer, both define an axis “H” running the

length of the arms. Thus, the Accused Products clearly meet this claim element.

Claim Element I: “wherein the first axis and the second axis are substantially parallel;”
         This element requires no construction and the plain meaning is clear: the axes defined by

the arms are substantially parallel to one another. As illustrated in Exhibit 6, axes “F” and “H” of

the Accused Products are clearly substantially parallel within meaning of this claim element.

Claim Element J: “a connecting portion comprising a U-shape disposed between the first arm
and the second arm,”
         No construction of the terms in this element is required and the ordinary meaning of the

terms is clear: the claimed device comprises a connecting portion shaped like the letter “U”

located between the first arm and the second arm. As shown in Exhibit 6, the curved portions “J”

of the Accused Products connect the first and second arms of the devices and confer a shape

resembling the letter “U” on the Accused Products that is essentially identical to the overall

shape of the claimed device illustrated in FIG. 8A of the ‘298 Patent. Thus, the Accused

Products include “a connecting portion comprising a U-shape disposed between the first arm and

the second arm” as recited in Claim 1.




3
 The specification of the ‘298 Patent provides support, stating at column 4, lines 14-15, that the second arm (302) of
device 300 illustrated in FIGS. 3A and 3B can have “an elongated configuration and define a second axis B-B’” as
shown in the figures.


                                                          6
    Case
     Case4:19-cv-04782
          4:19-cv-04782 Document
                         Document3-1
                                  1-2 Filed
                                       Filedon
                                             on12/10/19
                                                12/09/19ininTXSD
                                                             TXSD Page
                                                                   Page55 of 11
                                                                        7 of 104




Claim Element K: “wherein the first arm and the second arm comprise a laterally-opposed
configuration; and”
         The ordinary meaning of the term “laterally-opposed configuration” as used to describe

the relationship of the first and second arm relative to this claim element is clear: the first and

second arms are configured in an opposed condition, or opposite one another, akin to an

opposable thumb and forefinger. Reference to the figures and specification of the ‘298 Patent

support this interpretation. As can be ascertained from the figures, the qualifier “laterally” simply

means that the first and second arms are arranged side-by-side, laterally to one another with

respect to their axes, rather than being at opposite ends from one another along the same axis, as

they might be, for example, if the Accused Devices were opened to a fully extended or flat

position with their termini at opposite ends of the device. 4 Therefore, Accused Products clearly

comprise a first arm and a second arm in a laterally-opposed configuration within the meaning of

this element of Claim 1 and have the same configuration as the claimed device illustrated in FIG.

8A, as shown in Exhibit 6.

Claim Element L: “an attachment feature comprising one of a flange or a protrusion having”
         The ordinary meaning of the terms of this element is clear with reference to the figures

and specification of the ‘298 Patent. The specification and figures describe and illustrate device

300 having an attachment feature 309 protruding from an outer surface of connecting portion

305. See Exhibit 1, FIGS. 3A and 3B and column 4, lines 46 to 59. The Accused Products

likewise include an attachment feature “L” that comprises a protrusion extending from the

curved portion of connecting portion “J” in a manner that is nearly identical to that of the

claimed device illustrated in FIG. 8A of the ‘298 Patent, as shown in Exhibit 6. The Accused


4
 See also Exhibit 1, FIGS. 3A and 3B and column 4, lines 19-23 for additional support: “[d]evice 300 can be
configured such that first arm 301 and second arm 302 comprise a laterally-opposed configuration, as illustrated,
with distal end 303 of first arm 301 and distal end 304 of second arm 302 configured opposite one another.”


                                                         7
    Case
     Case4:19-cv-04782
          4:19-cv-04782 Document
                         Document3-1
                                  1-2 Filed
                                       Filedon
                                             on12/10/19
                                                12/09/19ininTXSD
                                                             TXSD Page
                                                                   Page56 of 11
                                                                        8 of 104




Products clearly comprise an attachment feature comprising a protrusion within the meaning of

this element of Claim 1 of the ‘298 Patent.

Claim Element M: “an aperture configured to insertably receive an attachment device,”
         The terms of this element have their ordinary meaning, namely that the attachment

feature described above has an “aperture” or opening through it and that the aperture is

configured so that an attachment device can be inserted into the aperture. The specification and

figures of the ‘298 Patent describe and illustrate device 600 having an attachment feature 609

with an aperture 610 and a key ring 612 inserted into aperture 610. 5 The Accused Products, with

and without the overmolded layer, comprise an attachment feature having “an aperture

configured to insertable receive an attachment device.” As shown in Exhibit 6, the Accused

Devices have an aperture “M” through the attachment feature “L” that is highly similar to the

corresponding feature of the claimed device shown in FIG. 8A of the ‘298 Patent. And

photographs from Seller’s website illustrate that the features of the Accused Products described

in this section are configured to insertably receive an attachment device within the meaning of

this term. Exhibit 8 is a true and correct copy of a page from the Seller’s website captured on

November 26, 2019 that includes a photograph showing an Accused Product with an attachment

device inserted through the aperture of the attachment feature of the device. The Accused

Products comprise “an aperture configured to insertable receive an attachment device” within the

meaning of this element of Claim 1.

Claim Element N: “wherein the attachment feature is disposed on the connecting portion and
configured to facilitate attachment of the device to the attachment device;”
         The terms of this element have their plain and ordinary meaning, namely that the

attachment feature described above is located on the connecting portion and configured so that

5
 See Exhibit 1, FIG. 6 and column 4, lines 54 to 56. The specification lists other examples of suitable attachment
devices, including, for example, carabiners, chains, and lanyards. See Exhibit 1 at column 4, lines 50-52.


                                                          8
   Case
    Case4:19-cv-04782
         4:19-cv-04782 Document
                        Document3-1
                                 1-2 Filed
                                      Filedon
                                            on12/10/19
                                               12/09/19ininTXSD
                                                            TXSD Page
                                                                  Page57 of 11
                                                                       9 of 104




an attachment device can be connected to the claimed device. As discussed above for Claim

Element “M,” the specification and figures of the ‘298 Patent describe and illustrate device 600

having an attachment feature 609 with an aperture 610 and a key ring 612 inserted into aperture

610. See Exhibit 1, FIG. 6 and column 4, lines 54 to 56. The Accused Products, with and without

the overmolded layer, comprise an attachment feature “disposed on the connecting portion” (“J”)

that is configured to facilitate attachment of the Accused Device to an attachment device, as

recited by this claim element. As shown in Exhibit 6, attachment feature “L” of the Accused

Devices is located on connecting portion “J” in a configuration highly similar to the claimed

device illustrated in FIG. 8A of the ‘298 Patent. And as shown in Exhibit 8, this configuration of

the Accused Devices facilitates attachment to an attachment device. The Accused Products

comprise an “attachment feature [that] is disposed on the connecting portion and configured to

facilitate attachment of the device to the attachment device” within the meaning of this element

of Claim 1 of the ‘298 Patent.

Claim Element O: “wherein the device is unitarily constructed, and”
       The terms of this claim element require no construction and the ordinary meaning is

clear: the device is manufactured as a single unit and is not an assembly of multiple components.

As described throughout the arguments presented herein, the Accused Products comprise a

unitarily constructed device meeting all elements of Claim 1 of the ‘298 Patent under a literal

infringement analysis, based at least on the fact that each Accused Product comprises a unitarily

constructed Base Device that meets each and every element of Claim 1.

       The Seller is expected to dispute this interpretation of the subject claim element and

assert that, because the Accused Product include an overmolded second layer, they do not

infringe Claim 1. However, upon removal of the separable overmolded layer from the Base

Device, the Base Device at the heart of each Accused Product still meets every limitation of

                                                9
   Case
   Case4:19-cv-04782
        4:19-cv-04782 Document
                      Document3-1
                               1-2 Filed
                                   Filedon
                                         on12/10/19
                                           12/09/19in
                                                    inTXSD
                                                      TXSD Page
                                                           Page58
                                                                10of
                                                                  of104
                                                                     11



Claim 1 of the ‘298 Patent, as illustrated in Exhibit 6 and described herein. That the otherwise

infringing Base Device is outfitted with a removable, overmolded layer that may comprise a

different material from the Base Device does not rescue the Accused Products from literal

infringement any more than placing a sticker, adding a layer of paint, or tying a bow on the

Base Device would render it not unitarily constructed and therefor non-infringing. Because

the Accused Product comprises a device molded as a single unit (i.e., a “unitarily constructed”

Base Device) that meets every other element of Claim 1 as described herein, the Accused

Product literally infringes Claim 1 of the ‘298 Patent. The presence of the overmolded layer

should be of no consequence in the literal infringement analysis of the Accused Products and

does not negate the fact that the Accused Products comprise an article of manufacture that meets

every element of Claim 1.

Claim Element P: “wherein the device comprises a configuration suitable to be gripped about
the first arm and the second arm by an operator’s hand.”
       The meaning of this limitation is clear and does not require construction: the device has a

configuration that enables it to be gripped around both arms in one hand of an operator. The

Accused Product meets the limitations of this element. Exhibit 9 is a true and correct copy of a

product page from the Seller’s website captured on November 25, 2019. The page includes a

photograph showing an Accused Product “gripped about the first arm and the second arm by an

operator’s hand,” with the arms of the device positioned between the thumb and forefinger of the

operator’s hand, demonstrating that the Accused Product meets the limitations of this element.

CONCLUSION

       The Accused Products meet each and every element of claim 1 of the ‘298 Patent. An

element-by-element analysis and comparison of Claim 1 and the Accused Products, including the

Base Device present at the core of each of the Accused Products, demonstrates that the Accused


                                               10
   Case
   Case4:19-cv-04782
        4:19-cv-04782 Document
                      Document3-1
                               1-2 Filed
                                   Filedon
                                         on12/10/19
                                           12/09/19in
                                                    inTXSD
                                                      TXSD Page
                                                           Page59
                                                                11of
                                                                  of104
                                                                     11



Products literally infringe Claim 1 of the ‘298 Patent. The Accused Products are also structurally

and functionally equivalent to the device of Claim 1, and Patent Owner would be likely to prove

that Seller’s Accused Products infringe Claim 1 by application of the doctrine of equivalents and

application of any test under that doctrine.

       For these reasons, Patent Owner submits that any patent infringement analysis of the

Accused Products under Claim 1 of the ‘298 patent would find that the Accused Products are

likely to infringe Claim 1 of the ‘298 Patent.

WHEREFORE, Namra requests that the Evaluator enter a finding that Patent Owner is likely to

prove Seller’s Accused Products infringe Claim 1 of the ‘298 Patent.


Dated: November 27, 2019                          Respectfully submitted,
                                                  KW Law, LLP

                                                  Jeremy Kapteyn
                                                  7000 N 16th St., STE 120-505
                                                  Phoenix, AZ 85012
                                                  520.977.3241
                                                  jeremy@kwlaw.co
                                                  Attorneys for Namra, LLC




                                                 11
Case
 Case4:19-cv-04782
      4:19-cv-04782 Document
                     Document3-1
                              1-3 Filed
                                   Filedon
                                         on12/10/19
                                            12/09/19ininTXSD
                                                         TXSD Page
                                                               Page60 of 43
                                                                    1 of 104




                                   C
Case
 Case4:19-cv-04782
      4:19-cv-04782 Document
                     Document3-1
                              1-3 Filed
                                   Filedon
                                         on12/10/19
                                            12/09/19ininTXSD
                                                         TXSD Page
                                                               Page61 of 43
                                                                    2 of 104
Case
 Case4:19-cv-04782
      4:19-cv-04782 Document
                     Document3-1
                              1-3 Filed
                                   Filedon
                                         on12/10/19
                                            12/09/19ininTXSD
                                                         TXSD Page
                                                               Page62 of 43
                                                                    3 of 104
Case
 Case4:19-cv-04782
      4:19-cv-04782 Document
                     Document3-1
                              1-3 Filed
                                   Filedon
                                         on12/10/19
                                            12/09/19ininTXSD
                                                         TXSD Page
                                                               Page63 of 43
                                                                    4 of 104
Case
 Case4:19-cv-04782
      4:19-cv-04782 Document
                     Document3-1
                              1-3 Filed
                                   Filedon
                                         on12/10/19
                                            12/09/19ininTXSD
                                                         TXSD Page
                                                               Page64 of 43
                                                                    5 of 104
Case
 Case4:19-cv-04782
      4:19-cv-04782 Document
                     Document3-1
                              1-3 Filed
                                   Filedon
                                         on12/10/19
                                            12/09/19ininTXSD
                                                         TXSD Page
                                                               Page65 of 43
                                                                    6 of 104
Case
 Case4:19-cv-04782
      4:19-cv-04782 Document
                     Document3-1
                              1-3 Filed
                                   Filedon
                                         on12/10/19
                                            12/09/19ininTXSD
                                                         TXSD Page
                                                               Page66 of 43
                                                                    7 of 104
Case
 Case4:19-cv-04782
      4:19-cv-04782 Document
                     Document3-1
                              1-3 Filed
                                   Filedon
                                         on12/10/19
                                            12/09/19ininTXSD
                                                         TXSD Page
                                                               Page67 of 43
                                                                    8 of 104
Case
 Case4:19-cv-04782
      4:19-cv-04782 Document
                     Document3-1
                              1-3 Filed
                                   Filedon
                                         on12/10/19
                                            12/09/19ininTXSD
                                                         TXSD Page
                                                               Page68 of 43
                                                                    9 of 104
Case
Case4:19-cv-04782
     4:19-cv-04782 Document
                   Document3-1
                            1-3 Filed
                                Filedon
                                      on12/10/19
                                        12/09/19in
                                                 inTXSD
                                                   TXSD Page
                                                        Page69
                                                             10of
                                                               of104
                                                                  43
Case
Case4:19-cv-04782
     4:19-cv-04782 Document
                   Document3-1
                            1-3 Filed
                                Filedon
                                      on12/10/19
                                        12/09/19in
                                                 inTXSD
                                                   TXSD Page
                                                        Page70
                                                             11of
                                                               of104
                                                                  43
Case
Case4:19-cv-04782
     4:19-cv-04782 Document
                   Document3-1
                            1-3 Filed
                                Filedon
                                      on12/10/19
                                        12/09/19in
                                                 inTXSD
                                                   TXSD Page
                                                        Page71
                                                             12of
                                                               of104
                                                                  43
Case
Case4:19-cv-04782
     4:19-cv-04782 Document
                   Document3-1
                            1-3 Filed
                                Filedon
                                      on12/10/19
                                        12/09/19in
                                                 inTXSD
                                                   TXSD Page
                                                        Page72
                                                             13of
                                                               of104
                                                                  43
Case
Case4:19-cv-04782
     4:19-cv-04782 Document
                   Document3-1
                            1-3 Filed
                                Filedon
                                      on12/10/19
                                        12/09/19in
                                                 inTXSD
                                                   TXSD Page
                                                        Page73
                                                             14of
                                                               of104
                                                                  43
Case
Case4:19-cv-04782
     4:19-cv-04782 Document
                   Document3-1
                            1-3 Filed
                                Filedon
                                      on12/10/19
                                        12/09/19in
                                                 inTXSD
                                                   TXSD Page
                                                        Page74
                                                             15of
                                                               of104
                                                                  43
Case
Case4:19-cv-04782
     4:19-cv-04782 Document
                   Document3-1
                            1-3 Filed
                                Filedon
                                      on12/10/19
                                        12/09/19in
                                                 inTXSD
                                                   TXSD Page
                                                        Page75
                                                             16of
                                                               of104
                                                                  43
Case
Case4:19-cv-04782
     4:19-cv-04782 Document
                   Document3-1
                            1-3 Filed
                                Filedon
                                      on12/10/19
                                        12/09/19in
                                                 inTXSD
                                                   TXSD Page
                                                        Page76
                                                             17of
                                                               of104
                                                                  43
Case
Case4:19-cv-04782
     4:19-cv-04782 Document
                   Document3-1
                            1-3 Filed
                                Filedon
                                      on12/10/19
                                        12/09/19in
                                                 inTXSD
                                                   TXSD Page
                                                        Page77
                                                             18of
                                                               of104
                                                                  43
Case
Case4:19-cv-04782
     4:19-cv-04782 Document
                   Document3-1
                            1-3 Filed
                                Filedon
                                      on12/10/19
                                        12/09/19in
                                                 inTXSD
                                                   TXSD Page
                                                        Page78
                                                             19of
                                                               of104
                                                                  43
Case
Case4:19-cv-04782
     4:19-cv-04782 Document
                   Document3-1
                            1-3 Filed
                                Filedon
                                      on12/10/19
                                        12/09/19in
                                                 inTXSD
                                                   TXSD Page
                                                        Page79
                                                             20of
                                                               of104
                                                                  43
Case
Case4:19-cv-04782
     4:19-cv-04782 Document
                   Document3-1
                            1-3 Filed
                                Filedon
                                      on12/10/19
                                        12/09/19in
                                                 inTXSD
                                                   TXSD Page
                                                        Page80
                                                             21of
                                                               of104
                                                                  43
Case
Case4:19-cv-04782
     4:19-cv-04782 Document
                   Document3-1
                            1-3 Filed
                                Filedon
                                      on12/10/19
                                        12/09/19in
                                                 inTXSD
                                                   TXSD Page
                                                        Page81
                                                             22of
                                                               of104
                                                                  43
Case
Case4:19-cv-04782
     4:19-cv-04782 Document
                   Document3-1
                            1-3 Filed
                                Filedon
                                      on12/10/19
                                        12/09/19in
                                                 inTXSD
                                                   TXSD Page
                                                        Page82
                                                             23of
                                                               of104
                                                                  43
Case
Case4:19-cv-04782
     4:19-cv-04782 Document
                   Document3-1
                            1-3 Filed
                                Filedon
                                      on12/10/19
                                        12/09/19in
                                                 inTXSD
                                                   TXSD Page
                                                        Page83
                                                             24of
                                                               of104
                                                                  43
Case
Case4:19-cv-04782
     4:19-cv-04782 Document
                   Document3-1
                            1-3 Filed
                                Filedon
                                      on12/10/19
                                        12/09/19in
                                                 inTXSD
                                                   TXSD Page
                                                        Page84
                                                             25of
                                                               of104
                                                                  43
Case
Case4:19-cv-04782
     4:19-cv-04782 Document
                   Document3-1
                            1-3 Filed
                                Filedon
                                      on12/10/19
                                        12/09/19in
                                                 inTXSD
                                                   TXSD Page
                                                        Page85
                                                             26of
                                                               of104
                                                                  43
Case
Case4:19-cv-04782
     4:19-cv-04782 Document
                   Document3-1
                            1-3 Filed
                                Filedon
                                      on12/10/19
                                        12/09/19in
                                                 inTXSD
                                                   TXSD Page
                                                        Page86
                                                             27of
                                                               of104
                                                                  43
Case
Case4:19-cv-04782
     4:19-cv-04782 Document
                   Document3-1
                            1-3 Filed
                                Filedon
                                      on12/10/19
                                        12/09/19in
                                                 inTXSD
                                                   TXSD Page
                                                        Page87
                                                             28of
                                                               of104
                                                                  43
Case
Case4:19-cv-04782
     4:19-cv-04782 Document
                   Document3-1
                            1-3 Filed
                                Filedon
                                      on12/10/19
                                        12/09/19in
                                                 inTXSD
                                                   TXSD Page
                                                        Page88
                                                             29of
                                                               of104
                                                                  43
Case
Case4:19-cv-04782
     4:19-cv-04782 Document
                   Document3-1
                            1-3 Filed
                                Filedon
                                      on12/10/19
                                        12/09/19in
                                                 inTXSD
                                                   TXSD Page
                                                        Page89
                                                             30of
                                                               of104
                                                                  43
Case
Case4:19-cv-04782
     4:19-cv-04782 Document
                   Document3-1
                            1-3 Filed
                                Filedon
                                      on12/10/19
                                        12/09/19in
                                                 inTXSD
                                                   TXSD Page
                                                        Page90
                                                             31of
                                                               of104
                                                                  43
Case
Case4:19-cv-04782
     4:19-cv-04782 Document
                   Document3-1
                            1-3 Filed
                                Filedon
                                      on12/10/19
                                        12/09/19in
                                                 inTXSD
                                                   TXSD Page
                                                        Page91
                                                             32of
                                                               of104
                                                                  43
Case
Case4:19-cv-04782
     4:19-cv-04782 Document
                   Document3-1
                            1-3 Filed
                                Filedon
                                      on12/10/19
                                        12/09/19in
                                                 inTXSD
                                                   TXSD Page
                                                        Page92
                                                             33of
                                                               of104
                                                                  43
Case
Case4:19-cv-04782
     4:19-cv-04782 Document
                   Document3-1
                            1-3 Filed
                                Filedon
                                      on12/10/19
                                        12/09/19in
                                                 inTXSD
                                                   TXSD Page
                                                        Page93
                                                             34of
                                                               of104
                                                                  43
Case
Case4:19-cv-04782
     4:19-cv-04782 Document
                   Document3-1
                            1-3 Filed
                                Filedon
                                      on12/10/19
                                        12/09/19in
                                                 inTXSD
                                                   TXSD Page
                                                        Page94
                                                             35of
                                                               of104
                                                                  43
Case
Case4:19-cv-04782
     4:19-cv-04782 Document
                   Document3-1
                            1-3 Filed
                                Filedon
                                      on12/10/19
                                        12/09/19in
                                                 inTXSD
                                                   TXSD Page
                                                        Page95
                                                             36of
                                                               of104
                                                                  43




                   Accused                 ed layer




         Accused               ed layer       ("Base Device")
Case
Case4:19-cv-04782
     4:19-cv-04782 Document
                   Document3-1
                            1-3 Filed
                                Filedon
                                      on12/10/19
                                        12/09/19in
                                                 inTXSD
                                                   TXSD Page
                                                        Page96
                                                             37of
                                                               of104
                                                                  43
Case
Case4:19-cv-04782
     4:19-cv-04782 Document
                   Document3-1
                            1-3 Filed
                                Filedon
                                      on12/10/19
                                        12/09/19in
                                                 inTXSD
                                                   TXSD Page
                                                        Page97
                                                             38of
                                                               of104
                                                                  43
Case
Case4:19-cv-04782
     4:19-cv-04782 Document
                   Document3-1
                            1-3 Filed
                                Filedon
                                      on12/10/19
                                        12/09/19in
                                                 inTXSD
                                                   TXSD Page
                                                        Page98
                                                             39of
                                                               of104
                                                                  43
Case
Case4:19-cv-04782
     4:19-cv-04782 Document
                   Document3-1
                            1-3 Filed
                                Filedon
                                      on12/10/19
                                        12/09/19in
                                                 inTXSD
                                                   TXSD Page
                                                        Page99
                                                             40of
                                                               of104
                                                                  43
Case
 Case4:19-cv-04782
      4:19-cv-04782 Document
                     Document3-1
                              1-3 Filed
                                   Filedon
                                         on12/10/19
                                            12/09/19ininTXSD
                                                         TXSD Page
                                                               Page100 of 43
                                                                    41 of 104
Case
 Case4:19-cv-04782
      4:19-cv-04782 Document
                     Document3-1
                              1-3 Filed
                                   Filedon
                                         on12/10/19
                                            12/09/19ininTXSD
                                                         TXSD Page
                                                               Page101 of 43
                                                                    42 of 104
Case
 Case4:19-cv-04782
      4:19-cv-04782 Document
                     Document3-1
                              1-3 Filed
                                   Filedon
                                         on12/10/19
                                            12/09/19ininTXSD
                                                         TXSD Page
                                                               Page102 of 43
                                                                    43 of 104
                     Case 4:19-cv-04782
                       Case  4:19-cv-04782Document 3-11-4Filed
                                            Document           onon
                                                            Filed 12/10/19 in TXSD
                                                                    12/09/19  in TXSDPage 103
                                                                                       Page   of 2
                                                                                            1 of 104
JS 44 (Rev. 09/19)                                                    CIVIL COVER SHEET
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

I. (a) PLAINTIFFS                                                                                        DEFENDANTS
B&B SOLUTIONS LLC                                                                                       NAMRA LLC

   (b) County of Residence of First Listed Plaintiff         Harris County                               County of Residence of First Listed Defendant              Lancaster, California
                             (EXCEPT IN U.S. PLAINTIFF CASES)                                                                   (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                         NOTE:      IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                    THE TRACT OF LAND INVOLVED.

   (c) Attorneys (Firm Name, Address, and Telephone Number)                                               Attorneys (If Known)
BELL NUNNALLY & MARTIN LLP                                                                              KW Law, LLP
2323 Ross Ave., Suite 1900, Dallas, TX 75201
214-740-1411

II. BASIS OF JURISDICTION (Place an “X” in One Box Only)                                    III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
                                                                                                     (For Diversity Cases Only)                                        and One Box for Defendant)
’ 1    U.S. Government             ’ 3   Federal Question                                                                     PTF       DEF                                           PTF      DEF
         Plaintiff                         (U.S. Government Not a Party)                        Citizen of This State         ’ 1       ’ 1       Incorporated or Principal Place       ’ 4     ’ 4
                                                                                                                                                    of Business In This State

’ 2    U.S. Government             ’ 4   Diversity                                              Citizen of Another State          ’ 2    ’    2   Incorporated and Principal Place    ’ 5     ’ 5
         Defendant                         (Indicate Citizenship of Parties in Item III)                                                             of Business In Another State

                                                                                                Citizen or Subject of a           ’ 3    ’    3   Foreign Nation                      ’ 6     ’ 6
                                                                                                  Foreign Country
IV. NATURE OF SUIT (Place an “X” in One Box Only)                                                                                        Click here for: Nature of Suit Code Descriptions.
          CONTRACT                                         TORTS                                  FORFEITURE/PENALTY                         BANKRUPTCY                    OTHER STATUTES
’ 110 Insurance                    PERSONAL INJURY                PERSONAL INJURY               ’ 625 Drug Related Seizure          ’ 422 Appeal 28 USC 158          ’ 375 False Claims Act
’ 120 Marine                     ’ 310 Airplane                 ’ 365 Personal Injury -               of Property 21 USC 881        ’ 423 Withdrawal                 ’ 376 Qui Tam (31 USC
’ 130 Miller Act                 ’ 315 Airplane Product               Product Liability         ’ 690 Other                               28 USC 157                       3729(a))
’ 140 Negotiable Instrument             Liability               ’ 367 Health Care/                                                                                   ’ 400 State Reapportionment
’ 150 Recovery of Overpayment ’ 320 Assault, Libel &                  Pharmaceutical                                                  PROPERTY RIGHTS                ’ 410 Antitrust
      & Enforcement of Judgment         Slander                       Personal Injury                                               ’ 820 Copyrights                 ’ 430 Banks and Banking
’ 151 Medicare Act               ’ 330 Federal Employers’             Product Liability                                             ’ 830 Patent                     ’ 450 Commerce
’ 152 Recovery of Defaulted             Liability               ’ 368 Asbestos Personal                                             ’ 835 Patent - Abbreviated       ’ 460 Deportation
      Student Loans              ’ 340 Marine                         Injury Product                                                      New Drug Application       ’ 470 Racketeer Influenced and
      (Excludes Veterans)        ’ 345 Marine Product                 Liability                                                     ’ 840 Trademark                        Corrupt Organizations
’ 153 Recovery of Overpayment           Liability                PERSONAL PROPERTY                          LABOR                     SOCIAL SECURITY                ’ 480 Consumer Credit
      of Veteran’s Benefits      ’ 350 Motor Vehicle            ’ 370 Other Fraud               ’ 710 Fair Labor Standards          ’ 861 HIA (1395ff)                     (15 USC 1681 or 1692)
’ 160 Stockholders’ Suits        ’ 355 Motor Vehicle            ’ 371 Truth in Lending                 Act                          ’ 862 Black Lung (923)           ’ 485 Telephone Consumer
’ 190 Other Contract                   Product Liability        ’ 380 Other Personal            ’ 720 Labor/Management              ’ 863 DIWC/DIWW (405(g))               Protection Act
’ 195 Contract Product Liability ’ 360 Other Personal                 Property Damage                  Relations                    ’ 864 SSID Title XVI             ’ 490 Cable/Sat TV
’ 196 Franchise                        Injury                   ’ 385 Property Damage           ’ 740 Railway Labor Act             ’ 865 RSI (405(g))               ’ 850 Securities/Commodities/
                                 ’ 362 Personal Injury -              Product Liability         ’ 751 Family and Medical                                                   Exchange
                                       Medical Malpractice                                             Leave Act                                                     ’ 890 Other Statutory Actions
      REAL PROPERTY                  CIVIL RIGHTS                PRISONER PETITIONS             ’ 790 Other Labor Litigation          FEDERAL TAX SUITS              ’ 891 Agricultural Acts
’ 210 Land Condemnation          ’ 440 Other Civil Rights         Habeas Corpus:                ’ 791 Employee Retirement           ’ 870 Taxes (U.S. Plaintiff      ’ 893 Environmental Matters
’ 220 Foreclosure                ’ 441 Voting                   ’ 463 Alien Detainee                  Income Security Act                  or Defendant)             ’ 895 Freedom of Information
’ 230 Rent Lease & Ejectment     ’ 442 Employment               ’ 510 Motions to Vacate                                             ’ 871 IRS—Third Party                  Act
’ 240 Torts to Land              ’ 443 Housing/                       Sentence                                                             26 USC 7609               ’ 896 Arbitration
’ 245 Tort Product Liability           Accommodations           ’ 530 General                                                                                        ’ 899 Administrative Procedure
’ 290 All Other Real Property    ’ 445 Amer. w/Disabilities -   ’ 535 Death Penalty                   IMMIGRATION                                                          Act/Review or Appeal of
                                       Employment                 Other:                        ’ 462 Naturalization Application                                           Agency Decision
                                 ’ 446 Amer. w/Disabilities -   ’ 540 Mandamus & Other          ’ 465 Other Immigration                                              ’ 950 Constitutionality of
                                       Other                    ’ 550 Civil Rights                    Actions                                                              State Statutes
                                 ’ 448 Education                ’ 555 Prison Condition
                                                                ’ 560 Civil Detainee -
                                                                      Conditions of
                                                                      Confinement
V. ORIGIN (Place an “X” in One Box Only)
’ 1 Original             ’ 2 Removed from            ’ 3        Remanded from              ’ 4 Reinstated or       ’ 5 Transferred from      ’ 6 Multidistrict                 ’ 8 Multidistrict
    Proceeding               State Court                        Appellate Court                Reopened                Another District              Litigation -                  Litigation -
                                                                                                                    (specify)                        Transfer                     Direct File
                                      Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
                                      35 U.S.C. § 271 , 28 U.S.C. §§ 2201-2202
VI. CAUSE OF ACTION Brief description of cause:
                                       Declaratory Judgment of Patent Non-Infringement and Invalidity
VII. REQUESTED IN     ’ CHECK IF THIS IS A CLASS ACTION                                            DEMAND $                                   CHECK YES only if demanded in complaint:
     COMPLAINT:          UNDER RULE 23, F.R.Cv.P.                                                                                             JURY DEMAND:         ’ Yes      ’ No
VIII. RELATED CASE(S)
                       (See instructions):
      IF ANY                               JUDGE                                                                                        DOCKET NUMBER
DATE                                                                SIGNATURE OF ATTORNEY OF RECORD
12/09/2019                                                         /s/ Jeffrey A. Tinker
FOR OFFICE USE ONLY

  RECEIPT #                   AMOUNT                                    APPLYING IFP                                      JUDGE                          MAG. JUDGE

                Print                           Save As...                                                                                                                  Reset
                     Case 4:19-cv-04782
                       Case
JS 44 Reverse (Rev. 09/19)   4:19-cv-04782Document 3-11-4Filed
                                            Document           onon
                                                            Filed 12/10/19 in TXSD
                                                                    12/09/19  in TXSDPage 104
                                                                                       Page   of 2
                                                                                            2 of 104

                     INSTRUCTIONS FOR ATTORNEYS COMPLETING CIVIL COVER SHEET FORM JS 44
                                                               Authority For Civil Cover Sheet

The JS 44 civil cover sheet and the information contained herein neither replaces nor supplements the filings and service of pleading or other papers as
required by law, except as provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is
required for the use of the Clerk of Court for the purpose of initiating the civil docket sheet. Consequently, a civil cover sheet is submitted to the Clerk of
Court for each civil complaint filed. The attorney filing a case should complete the form as follows:

I.(a)    Plaintiffs-Defendants. Enter names (last, first, middle initial) of plaintiff and defendant. If the plaintiff or defendant is a government agency, use
         only the full name or standard abbreviations. If the plaintiff or defendant is an official within a government agency, identify first the agency and
         then the official, giving both name and title.
  (b)    County of Residence. For each civil case filed, except U.S. plaintiff cases, enter the name of the county where the first listed plaintiff resides at the
         time of filing. In U.S. plaintiff cases, enter the name of the county in which the first listed defendant resides at the time of filing. (NOTE: In land
         condemnation cases, the county of residence of the "defendant" is the location of the tract of land involved.)
  (c)    Attorneys. Enter the firm name, address, telephone number, and attorney of record. If there are several attorneys, list them on an attachment, noting
         in this section "(see attachment)".

II.      Jurisdiction. The basis of jurisdiction is set forth under Rule 8(a), F.R.Cv.P., which requires that jurisdictions be shown in pleadings. Place an "X"
         in one of the boxes. If there is more than one basis of jurisdiction, precedence is given in the order shown below.
         United States plaintiff. (1) Jurisdiction based on 28 U.S.C. 1345 and 1348. Suits by agencies and officers of the United States are included here.
         United States defendant. (2) When the plaintiff is suing the United States, its officers or agencies, place an "X" in this box.
         Federal question. (3) This refers to suits under 28 U.S.C. 1331, where jurisdiction arises under the Constitution of the United States, an amendment
         to the Constitution, an act of Congress or a treaty of the United States. In cases where the U.S. is a party, the U.S. plaintiff or defendant code takes
         precedence, and box 1 or 2 should be marked.
         Diversity of citizenship. (4) This refers to suits under 28 U.S.C. 1332, where parties are citizens of different states. When Box 4 is checked, the
         citizenship of the different parties must be checked. (See Section III below; NOTE: federal question actions take precedence over diversity
         cases.)

III.     Residence (citizenship) of Principal Parties. This section of the JS 44 is to be completed if diversity of citizenship was indicated above. Mark this
         section for each principal party.

IV.      Nature of Suit. Place an "X" in the appropriate box. If there are multiple nature of suit codes associated with the case, pick the nature of suit code
         that is most applicable. Click here for: Nature of Suit Code Descriptions.

V.       Origin. Place an "X" in one of the seven boxes.
         Original Proceedings. (1) Cases which originate in the United States district courts.
         Removed from State Court. (2) Proceedings initiated in state courts may be removed to the district courts under Title 28 U.S.C., Section 1441.
         Remanded from Appellate Court. (3) Check this box for cases remanded to the district court for further action. Use the date of remand as the filing
         date.
         Reinstated or Reopened. (4) Check this box for cases reinstated or reopened in the district court. Use the reopening date as the filing date.
         Transferred from Another District. (5) For cases transferred under Title 28 U.S.C. Section 1404(a). Do not use this for within district transfers or
         multidistrict litigation transfers.
         Multidistrict Litigation – Transfer. (6) Check this box when a multidistrict case is transferred into the district under authority of Title 28 U.S.C.
         Section 1407.
         Multidistrict Litigation – Direct File. (8) Check this box when a multidistrict case is filed in the same district as the Master MDL docket.
         PLEASE NOTE THAT THERE IS NOT AN ORIGIN CODE 7. Origin Code 7 was used for historical records and is no longer relevant due to
         changes in statue.

VI.      Cause of Action. Report the civil statute directly related to the cause of action and give a brief description of the cause. Do not cite jurisdictional
         statutes unless diversity. Example: U.S. Civil Statute: 47 USC 553 Brief Description: Unauthorized reception of cable service

VII.     Requested in Complaint. Class Action. Place an "X" in this box if you are filing a class action under Rule 23, F.R.Cv.P.
         Demand. In this space enter the actual dollar amount being demanded or indicate other demand, such as a preliminary injunction.
         Jury Demand. Check the appropriate box to indicate whether or not a jury is being demanded.

VIII. Related Cases. This section of the JS 44 is used to reference related pending cases, if any. If there are related pending cases, insert the docket
      numbers and the corresponding judge names for such cases.

Date and Attorney Signature. Date and sign the civil cover sheet.
